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10
                           UNITED STATES DISTRICT COURT
11                       SOUTHERN DISTRICT OF CALIFORNIA
12
13    GARY VAN LUVEN, derivatively             Case No. '24CV2014 L       AHG
      on behalf of IMMUNITYBIO, INC.
14
15                 Plaintiff,                  JURY TRIAL DEMANDED
16          vs.
17
      PATRICK SOON-SHIONG,
18    RICHARD ADCOCK, CHERYL L.
19    COHEN, MICHAEL D. BLASZYK,
      JOHN OWEN BRENNAN, LINDA
20
      MAXWELL, WESLEY CLARK,
21    CHRISTOBEL SELECKY, BARRY
22    J. SIMON, and DAVID C. SACHS,

23                 Defendants,
24
           and
25
26    IMMUNITYBIO, INC.,
27
                   Nominal Defendant.
28
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 1         Gary Van Luven (''Plaintiff''), by his undersigned attorneys, derivatively on
 2   behalf of Nominal Defendant ImmunityBio Inc. (''ImmunityBio'' or the ''Company''),
 3   files this Shareholder Derivative Complaint against Patrick Soon-Shiong (''Soon-
 4   Shiong''), Richard Adcock (''Adcock''), Cheryl L. Cohen (''Cohen''), Michael D. Blaszyk
 5   (''Blaszyk''), John Owen Brennan (''Brennan''), Linda Maxwell (''Maxwell''), Wesley
 6   Clark (''Clark''), Christobel Selecky (''Selecky''), Barry J. Simon (''Simon''), and David
 7   C. Sachs (“Sachs”) (collectively, the ''Individual Defendants'') for breaches of their
 8   fiduciary duties as directors and/or officers of ImmunityBio.
 9         1.     Plaintiff alleges the following against the Individual Defendants based
10   upon personal knowledge as to himself and his acts, and information and belief as to all
11   other matters, based upon, inter alia, the investigation conducted by and through his
12   attorneys, which included, among other things, a review of the Defendants’ public
13   documents, conference calls and announcements made by Defendants, United States
14   Securities and Exchange Commission (''SEC'') filings, wire and press releases published
15   by and regarding ImmunityBio, news reports, securities analysts’ reports and advisories
16   about the Company, information readily obtainable on the Internet, public filings in the
17   related federal securities class action lawsuit filed in the U.S. District Court for the

18   Southern District of California captioned Salzman v. ImmunityBio, Inc., et al., 3:23-cv-

19   01216-BEN-WVG (S.D.C.A.) (the ''Securities Action''). Plaintiff believes that

20   substantial evidentiary support will exist for the allegations set forth herein after a

21   reasonable opportunity for discovery.

22         This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1331 and
     Section 27 of the Securities Exchange Act of 1934 (the “Exchange Act”) over the claims
23
     asserted herein for violations of Section 14(a) of the Exchange Act (15 U.S.C. §§ 78n(a)
24
     and Rule 14a-9 (17 C.F.R.§240.142-9) promulgated thereunder by the SEC; AND
25
     supplemental jurisdiction over Plaintiff’s state law claims pursuant to 28 U.S.C.
26
     §1367(a).
27
28   ///


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 1                               NATURE OF THE ACTION
 2         2.      This is a shareholder derivative action brought in the right, and for the
 3   benefit, of ImmunityBio against certain of its officers and directors (the ''Board'')
 4   seeking to remedy Defendants’ violations of law that have occurred from March 10,
 5   2021 to May 10, 2023 (the ''Relevant Period''), and have caused, and continue to cause,
 6   substantial harm to ImmunityBio and its shareholders, including monetary losses and
 7   damages to ImmunityBio’s reputation and goodwill.
 8         3.      ImmunityBio is a clinical-stage biotechnology company focused on
 9   developing next-generation therapies and vaccines that bolster the immune system to
10   combat cancer and infectious diseases in the U.S. and Europe. The Company’s
11   platforms include a range of biologic product candidates, such as antibody-cytokine
12   fusion protein N-803 (commercially known as “Anktiva”), DNA and RNA vaccines,
13   and advanced cell therapies. ImmunityBio utilizes third-party contract manufacturing
14   organizations (CMOs) to produce key product candidates, including Anktiva.
15         4.      This complaint arises from ImmunityBio's representations to investors that
16   its Anktiva product, a cell fusion protein for treating bladder cancer, was progressing
17   toward FDA approval and that the company had established robust manufacturing

18   processes to support its commercialization. However, these representations were

19   misleading.

20         5.      In March 2021, ImmunityBio emerged from a merger between two

21   clinical-stage biopharmaceutical companies, NantKwest and a separate company

22   ImmunityBio, Inc. (“ImmunityBio Legacy”), both controlled by Defendant Patrick
     Soon-Shiong. ImmunityBio Legacy had previously acquired the company that
23
     developed Anktiva, its flagship product candidate. After the merger, ImmunityBio
24
     continued to rely on the same third-party contract manufacturing organizations (CMOs)
25
     to produce the active ingredients for Anktiva while working to scale its manufacturing
26
     capabilities and ensure compliance with FDA standards.
27
           6.      However, starting in March 2021, the U.S. Food and Drug Administration
28

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 1   (“FDA”) began to raise concerns about ImmunityBio’s manufacturing processes. The
 2   FDA issued a Form 483 in both March and July 2021, documenting significant
 3   deviations from current Good Manufacturing Practice (cGMP) standards at
 4   ImmunityBio’s CMO, AGC Biologics. Despite these serious warnings, ImmunityBio
 5   continued to assure investors that its manufacturing processes were in compliance with
 6   cGMP. The CMO’s failures included delayed batch records, incomplete investigations
 7   into manufacturing deviations, and inadequate stability testing for Anktiva, all of which
 8   jeopardized production. Numerous batches of Anktiva failed for a variety of reasons.
 9         7.     On May 23, 2022, ImmunityBio submitted a Biologics License
10   Application (“BLA”) for Anktiva to the FDA. Throughout the process, the company
11   consistently reassured investors that it had “established Good Manufacturing Practice
12   (GMP) manufacturing capacity at scale with cutting-edge cell manufacturing expertise
13   and ready-to-scale facilities.” Investors were led to believe that these facilities,
14   including AGC Biologics, complied with all necessary regulations, despite the ongoing
15   violations noted by the FDA.
16         8.     Behind the scenes, however, these issues continued. In February 2023, the
17   FDA conducted a pre-license inspection of the CMO responsible for producing Anktiva.

18   Despite the inspection revealing further cGMP violations, ImmunityBio remained silent

19   about these ongoing deficiencies. The company continued to publicly assert that its

20   manufacturing facilities were cGMP-compliant and that Anktiva was on track for

21   approval.

22         9.     On May 11, 2023, the truth was finally revealed to the public. During pre-
     market hours, ImmunityBio announced that the FDA had rejected its BLA for Anktiva,
23
     not due to any clinical concerns, but because of "deficiencies relating to the FDA’s pre-
24
     license inspection" of the CMO responsible for manufacturing Anktiva. These
25
     deficiencies, which had persisted despite prior warnings, ultimately led to the FDA’s
26
     refusal to approve the drug.
27
           10.    The news came as a shock to investors, who had been repeatedly assured
28

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 1   that the company’s manufacturing processes were compliant with FDA regulations. On
 2   this revelation, ImmunityBio’s stock price dropped by $3.43 per share, or 55.14%,
 3   closing at $2.79 on May 11, 2023, resulting in substantial financial losses for investors.
 4         11.    Throughout the Relevant Period, Defendants failed to disclose the ongoing
 5   deficiencies in ImmunityBio's manufacturing processes to investors. Instead, they
 6   represented that ImmunityBio had contracted with a "multi-national biologics
 7   manufacturer with multiple cGMP-compliant facilities" for its Anktiva product
 8   candidate and asserted that "those facilities ha[d] robust process development,
 9   validation, and quality oversight."
10         12.    Throughout the Relevant Period, the Individual Defendants made or
11   caused ImmunityBio to make false and misleading statements and/or failed to disclose
12   that, among other things: (1) ImmunityBio conducted insufficient due diligence to
13   discover, or else did discover and ignored, GMP deficiencies at its third party CMOs
14   for Anktiva; (2) one or more of the Company’s third-party CMOs for Anktiva did in
15   fact suffer from cGMP deficiencies; (3) the foregoing deficiencies was likely to cause
16   the FDA to reject the Akitva BLA in its present form; (4) accordingly, the Company
17   overstated the regulatory approval prospects for the Ankitva BLA; and (5) as a result

18   the public statements were materially false and misleading at all relevant times.

19         13.    As a result of the foregoing, ImmunityBio, as well as the Company’s CEO,

20   CFO, and Chief Scientific and Medical Officer, were named as defendants in the

21   Securities Action by investors who allege they were damaged when they purchased

22   ImmunityBio shares during the Relevant Period.
           14.    On June 20, 2024, the court in the Securities Class Action denied the
23
     defendants’ motion to dismiss under the heightened pleading standards of the Private
24
     Securities Litigation Reform Act of 1995 (“PSLRA”). These actionable statements will
25
     expose the Company to significant class-wide liability moving forward.
26
           15.    Due to the breaches of fiduciary duty by the Individual Defendants, most
27
     of whom are current directors, the collective engagement in fraud and misconduct, and
28

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 1   the substantial likelihood of their liability in this derivative action and the Securities
 2   Action, a majority of ImmunityBio’s Board of Directors cannot consider a demand to
 3   commence litigation against themselves on behalf of the Company with the requisite
 4   level of disinterestedness and independence.
 5                             JURISDICTION AND VENUE
 6          16.    This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1331
 7   and Section 27 of the Securities Exchange Act of 1934 (the “Exchange Act”) over the
 8   claims asserted herein for violations of Section 14(a) of the Exchange Act (15 U.S.C.
 9   §§ 78n(a) and Rule 14a-9 (17 C.F.R.§240.142-9) promulgated thereunder by the SEC.
10          17.    This Court has supplemental jurisdiction over Plaintiff’s state law claims
11   pursuant to 28 U.S.C. §1367(a).
12          18.    In connection with the acts, conduct and other wrongs complained of
13   herein, Defendants, directly or indirectly, used the means and instrumentalities of
14   interstate commerce, the United States mail, and the facilities of a national securities
15   market.
16          19.    This action is not a collusive action designed to confer jurisdiction on a
17   court of the United States that it would not otherwise have.

18          20.    This Court has personal jurisdiction over each defendant named herein

19   because each defendant is either a corporation that conducts business in and is

20   headquartered in this District or is an individual who has sufficient minimum contacts

21   with this District to render the exercise of jurisdiction by the courts of this District

22   permissible under traditional notions of fair play and substantial justice.
            21.    Venue is proper in this District pursuant to Section 27(a) of the Exchange
23
     Act and 28 U.S.C. § 1391 because Defendants have conducted business in this District,
24
     and a substantial portion of the transaction and wrongs complained of herein occurred
25
     in this District.
26
                                             PARTIES
27
     Plaintiff
28

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 1         22.   Plaintiff is, and has been at all relevant times, a shareholder of
 2   ImmunityBio.
 3   Nominal Defendant
 4         23.   Nominal Defendant ImmunityBio is incorporated under the laws of
 5   Delaware, with its principal executive offices located at 3530 John Hopkins Court, San
 6   Diego, California 92121. ImmunityBio common stock trades on the Nasdaq Global
 7   Select Market (“Nasdaq”) under the ticker symbol ''IBRX.''
 8   Individual Defendants
 9         24.   Defendant Patrick Soon-Shiong (''Soon-Shiong'') founded ImmunityBio in
10   2015 and has served as Executive Chairman of the Board since October 2020 and as
11   Global Chief Scientific and Medical Officer since August 2021. Soon-Shiong
12   previously served as Chairman of the Board and Chief Executive Officer from March
13   2015 to October 2020. Additionally, Soon-Shiong is named as a defendant in the
14   Securities Class Action.
15         25.   The Company’s 2024 Proxy Statement stated the following about
16   Defendant Soon-Shiong:
17         Patrick Soon-Shiong, M.D., FRCS (C), FACS was appointed Executive
           Chairman of the Board in October 2020 and Global Chief Scientific and Medical
18         Officer of the company on August 11, 2021. Previously, he served as the
19         Chairman of the Board and Chief Executive Officer from March 2015 to October
           2020, as the Co-Chairman of the Board from December 2014 to March 2015, and
20         as our Chief Medical Officer from January 2015 to March 2015. In 2011, he
21         founded NantWorks, LLC (NantWorks), an ecosystem of companies to create a
           transformative global health information and next generation pharmaceutical
22
           development network, for the secure sharing of genetic and medical information.
23         Dr. Soon-Shiong invented and developed Abraxane®, the nation’s first Food and
24         Drug Administration (FDA)-approved protein nanoparticle albumin-bound
           delivery technology for the treatment of cancer. Abraxane was approved by the
25         FDA for metastatic breast cancer in 2005, lung cancer in 2012, and pancreatic
26         cancer in 2013. Abraxane is now approved in many countries across the globe.
           From 1997 to 2010, Dr. Soon-Shiong served as founder, chairman, and chief
27         executive officer of two global pharmaceutical companies, American
28         Pharmaceutical Partners (sold to Fresenius SE for $4.6 billion in 2008) and

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 1         Abraxis BioScience (sold to Celgene Corporation for $3.8 billion in 2010). In
           2018, he became the owner and executive chairman of the Los Angeles Times,
 2         Los Angeles Times en Español and other publications under the California
 3         Times. Dr. Soon-Shiong is chairman of the Chan Soon-Shiong Family
           Foundation and the Chan Soon-Shiong Institute of Molecular Medicine, a
 4
           nonprofit medical research organization. He also serves as chair of the board of
 5         directors of the Access to Advanced Health Institute, a nonprofit biotech research
 6         institute located in Seattle focused on combating some of the world’s deadliest
           diseases, including COVID-19, cancer, fungal and parasitic infections, and other
 7         non-communicable diseases. He is a visiting Professor at the Imperial College of
 8         London. Dr. Soon-Shiong holds a degree in medicine from the University of the
           Witwatersrand and a M.Sc. in science from the University of British Columbia.
 9         We believe Dr. Soon-Shiong is qualified to serve as a member of the Board based
10         on his depth of expertise as chairman and chief executive officer of multiple
           multi-billion dollar companies in the life sciences industry, his broad experience
11         in the research and development of pioneering technologies, and his educational
12         background. Pursuant to the Subscription and Investment Agreement between the
           company and Cambridge Equities, LP (Cambridge), Cambridge has the right to
13
           designate one individual to be nominated and recommended for election by the
14         Board for as long as Cambridge continues to hold at least 20% of the issued and
15         outstanding shares of the company’s common stock. Dr. Soon-Shiong has been
           selected by Cambridge to hold this Board seat.
16
           26.   Defendant Richard Adcock (''Adock'') has served as the Company’s Chief
17
     Executive Officer since October 2020 and as President of the Company and a member
18
     of the Board since March 2021. Additionally, Adcock is named as a defendant in the
19
     Securities Class Action.
20
           27.   The Company’s 2024 Proxy Statement stated the following about
21
     Defendant Adock:
22
           Richard Adcock has served as our Chief Executive Officer since October 2020
23         and as President of the company and a member of the Board since March 2021.
24         He has over 30 years of leadership experience in the healthcare industry. From
           January 2018 to September 2020, he served as chief executive officer of Verity
25
           Health System of California, Inc. (Verity Health), a nonprofit public benefit
26         corporation healthcare provider, that he steered through a successful restructuring
27         event. Prior to joining Verity Health, he served in various capacities at Sanford
           Health, a not-for-profit integrated healthcare delivery system, including as its
28         chief innovation officer, president, executive vice president and director from

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 1         2004 to 2017. Prior to Sanford Health, he served as global engineering director
           at GE Healthcare. Mr. Adcock holds a B.S. in Business Administration from
 2         Northern State University and an M.B.A. in Healthcare Management from
 3         University of Phoenix. We believe Mr. Adcock is qualified to serve as a member
           of the Board based on his extensive knowledge of the healthcare industry and his
 4
           experience in senior management roles at leading healthcare companies.
 5
           28.   Defendant Cheryl L. Cohen (''Cohen'') has served as Lead Independent
 6
     Director since March 2023 and as a member of the Board since June 2019.
 7
           29.   The Company’s 2024 Proxy Statement stated the following about
 8
     Defendant Cohen:
 9
           Cheryl L. Cohen was appointed Lead Independent Director in March 2023 and
10         has served as a member of the Board since June 2019. Since 2014, Ms. Cohen
11         has served as principal owner and president of CLC Consulting, LLC, a
           pharmaceutical and biotechnology consulting firm specializing in new product
12         start-up and commercialization. Prior to CLC, she served as chief commercial
13         officer of Medivation, Inc., a publicly-traded bio-pharmaceutical company, from
           2011 until 2014. From 2007 to 2008, she served as Vice President, Strategic
14
           Commercial Group, of Health Care Systems, Inc., a Johnson & Johnson
15         company, and from 1998 to 2007, she worked at Janssen Biotech, Inc. (formerly
16         Centocor Biotech, Inc.), a Johnson & Johnson company, in a variety of senior
           sales roles including Vice President, Rheumatology Franchise. Ms. Cohen has
17         served on the board of directors of Celldex Therapeutics, Inc. (Nasdaq:CLDX)
18         since June 2022. She previously served on the board of directors of MEI Pharma,
           Inc. (Nasdaq:MEIP), Ignyte Acquisition, Corp. (Nasdaq:IGNY), Aerpio
19         Pharmaceuticals, Inc., Eledon Pharmaceuticals, Inc. (formerly known as Novus
20         Therapeutics, Inc.) (Nasdaq:ELDN), Vital Therapies, Inc., Protein Sciences
           Corporation, and LadRx Corporation (formerly CytRx Corporation
21         (OTCQB:LADX)). She began her career at Solvay Pharmaceuticals in a variety
22         of sales positions. Ms. Cohen received her B.A. from Saint Joseph College. We
           believe Ms. Cohen is qualified to serve as a member of the Board based on her
23
           extensive experience with and knowledge of the healthcare industry,
24         commercialization expertise, and experience serving on boards of directors of
25         public companies.

26         30.   Defendant Michael D. Blaszyk (''Blaszyk'') has served as a member of the
27   Board since July 2015.
28         31.   The Company’s 2024 Proxy Statement stated the following about

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 1   Defendant Blaszyk:
 2         Michael D. Blaszyk has served as a member of the Board since July 2015. Since
 3         July 2017, Mr. Blaszyk has served as an operating partner of Beecken Petty
           O’Keefe & Company, LLC (BPOC), a capital markets company. Prior to BPOC,
 4         he served as the chief financial officer and chief corporate officer of Dignity
 5         Health (formerly known as Catholic Healthcare West), a not-for-profit public
           benefit corporation, from December 2000 until his retirement in December 2015.
 6         Prior to joining Dignity Health, he served as the senior vice president and chief
 7         financial officer of University Hospitals Health System in Cleveland, Ohio, a
           healthcare system, from 1997 to 2000. He also previously served as the managing
 8
           partner of the Northeast Region Health Care Provider Consulting Practice for
 9         Mercer LLC (formerly known as William M. Mercer), a global consulting firm,
10         and the executive vice president of Boston Medical Center, a not-for-profit
           academic medical center. Mr. Blaszyk is a director/manager for Medicus,
11         NantHealth (a company affiliated with Dr. Soon-Shiong), and Health
12         Management Associates. He received his B.S. in Life Sciences from Wayne State
           University and his Masters in Health Administration from the University of
13         Colorado. We believe Mr. Blaszyk is qualified to serve as a member of the Board
14         based on his extensive experience with and knowledge of the healthcare industry
           and his significant financial and accounting background.
15
16         32.   Defendant John Owen Brennan (''Brennan'') has served as a member of the
17   Board since February 2021.
18         33.   The Company’s 2024 Proxy Statement stated the following about
19   Defendant Brennan:
20         John Owen Brennan has served as a member of the Board since March 2021. Mr.
21         Brennan served on the board of directors of ImmunityBio, Inc. (a private
           company) from February 2021 until March 9, 2021. Mr. Brennan served for 29
22         years in a variety of roles at the U.S. Central Intelligence Agency (CIA), rising
23         from analyst to station chief, and was ultimately appointed as the agency’s
           Director by President Barack Obama, leading the CIA from March 2013 to
24         January 2017. From 2009 to 2013, he served as Deputy National Security Advisor
25         for Homeland Security and Counterterrorism and has also served as a senior
           national security and intelligence analyst and contributor for NBC and MSNBC
26         since February 2018. Mr. Brennan has served on numerous boards of advisors
27         and boards of directors of private sector companies, including his current service
           on the Swiss Re Strategic Council. He earned a Bachelor of Arts degree from
28

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 1        Fordham University, which included study abroad at the American University in
          Cairo, and is a Distinguished Fellow, Center on National Security, Fordham
 2        University School of Law. He earned a Master of Arts from the University of
 3        Texas at Austin, where he currently serves as a Distinguished Scholar,
          Intelligence Studies Project. He is also a Member, International Institute for
 4
          Strategic Studies Board of Trustees, a Member, Homeland Intelligence Experts
 5        Group, Officer of Intelligence & Analysis, U.S. Department of Homeland
 6        Security, a Principal, WestExec Advisors, a Member, Treliant LLC Board of
          Managers, a Senior Advisor, McKinsey & Company, Inc, a Member, Avenue
 7        Sustainable Solutions Fund L.P. Board of Advisors, and a Director, Performance
 8        Drone Works LLC. We believe Mr. Brennan is qualified to serve as a member of
          the Board based on his demonstrated fidelity and leadership experience
 9        throughout his career, and his acumen for public affairs.
10
11        34.   Defendant Linda Maxwell (''Maxwell'') has served as a member of the
12   Board since March 2021.

13        35.   The Company’s 2024 Proxy Statement stated the following about

14   Defendant Maxwell:

15        Linda Maxwell, M.D., M.B.A., FRCSC has served as a member of the Board
          since March 2021. Dr. Maxwell is an experienced physician and surgeon, having
16        managed her own head and neck surgical practice since 2006. She is a medical
17        educator, a published scientific author, and a health technology entrepreneur and
          innovator. As of March 2022, she is an Operating Partner at DCVC Management
18        Co, LLC, a venture capital fund. She was previously an Adjunct Professor of
19        Surgery at University of Toronto, a Distinguished Visiting Professor at Toronto
          Metropolitan University, and an Associate Scientist at the Li Ka Shing
20
          Knowledge Institute in Toronto. She is the Founder and former Executive
21        Director of the Biomedical Zone at Toronto Metropolitan University, Canada’s
22        premier hospital-embedded medical technology incubator for early-stage digital
          health and medical technology companies, and has guided a wide variety of
23        startup companies through clinical development, capitalization and
24        commercialization. She has also managed a life sciences tech transfer portfolio
          at the University of Oxford and the UK National Health Service, executing patent
25        strategy, spin-out company formation, and early-stage capital raising. She has
26        also served as a healthcare innovation expert to various Canadian federal,
          provincial, and local government entities, as a member of the Department Audit
27        Committee of the Public Health Agency of Canada, and as an advisor to the
28        Canadian Medical Association and the Canadian Space Agency. She currently

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 1         serves on the board of directors of United Therapeutics Corporation. Dr. Maxwell
           earned an A.B. with honors from Harvard University, an M.D. from Yale
 2         University School of Medicine, and an M.B.A. from the Saïd Business School at
 3         the University of Oxford. We believe Dr. Maxwell is qualified to serve as a
           member of the Board based on her extensive medical and scientific knowledge
 4
           and experience, and her experience advising and cultivating companies in the
 5         health technology industry.
 6         36.   Defendant Wesley Clark (''Clark'') has served as a member of the Board
 7   since February 2021.
 8         37.   The Company’s 2024 Proxy Statement stated the following about
 9   Defendant Clark:
10         Wesley Clark has served as a member of the Board since March 2021. General
11         Clark, USA, Retired, served on the board of directors of ImmunityBio, Inc. (a
           private company) from February 2021 until March 9, 2021. He served for 34
12         years in the U.S. Army, rising through the ranks to earn his fourth star as a full
13         general in 1996. He served as the Supreme Allied Commander Europe of NATO
           from 1997 to 2000, where he commanded Operation Allied Force in the Kosovo
14
           War. Highly decorated throughout his career, Gen. Clark was awarded the U.S.
15         Presidential Medal of Freedom by President William J. Clinton. Since March
16         2003, he has served as chairman and chief executive officer of Wesley K. Clark
           & Associates, LLC, a consulting firm specializing in business development, crisis
17         support and strategic communications. Since 2010, he has served as chairman
18         and chief executive officer of Enverra, Inc., a boutique investment bank. Gen.
           Clark has served on the board of directors of Equinox Gold Corp. (TSX:EQX,
19         NYSE American:EQX) since 2016 and served on the board of directors of
20         Rentech, Inc. from 2010 to 2018. He is a graduate of the U.S. Military Academy
           at West Point, where he was class valedictorian. After graduating from West
21         Point, he was awarded a Rhodes Scholarship to the University of Oxford where
22         he earned degrees in philosophy, politics and economics. He earned a master’s
           degree in military science from the Command and General Staff College. We
23
           believe Gen. Clark is qualified to serve as a member of the Board based on his
24         extensive leadership experience, success in both the public and private sectors,
25         and experience serving on other public company boards of directors.

26         38.   Defendant Christobel Selecky (''Selecky'') has served as a member of the
27   Board since August 2020.
28         39.   The Company’s 2024 Proxy Statement stated the following about

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 1   Defendant Selecky:
 2         Christobel Selecky has served as a member of the Board since March 2021. Ms.
 3         Selecky served on the board of directors of ImmunityBio, Inc. (a private
           company) from August 2020 until March 9, 2021. Ms. Selecky has more than 35
 4         years of healthcare industry experience. She is the principal at Population Health
 5         Strategies, her healthcare consultancy, where since 2009 she has provided
           strategic consulting to management teams, companies and investors, helping
 6         improve patient engagement, population health outcomes, and healthcare cost
 7         management. Since 2014 she has served as a Strategic Advisor at Ceresti Health,
           a privately-held healthcare technology company, and has served as a lecturer in
 8
           Healthcare Entrepreneurship for the M.B.A. program at the University of
 9         California, Irvine since 2017. She held several leadership positions over her 14-
10         year career at FHP International Corporation, which ended in 1995 including as
           President of the FHP California Health Plan. She subsequently co-founded, and
11         served as President, CEO, and Executive Chairman of LifeMasters Supported
12         SelfCare, a national leader in the field of disease and population health
           management. She currently serves on the boards of directors of Teleperformance
13         SE (TEP – ISIN: FR0000051807 – Reuters: TEPRF.PA – Bloomberg: TEP FP),
14         a French public company providing business services, Satellite Healthcare, a
           leading not-for-profit provider of kidney dialysis and related services, and
15         Griswold Home Care, a privately-held non-medical home care company. She is
16         active in several board governance organizations such as NACD (where she is a
           board member of the Pacific Southwest Chapter), the Private Directors
17
           Association, and Women Corporate Directors and has been a member of audit,
18         compensation, governance and other committees of boards of directors on which
19         she has served. Ms. Selecky received her B.A. from the University of Delaware
           and her M.A. from Syracuse University. We believe Ms. Selecky is qualified to
20         serve as a member of the Board based on her extensive experience in and
21         knowledge of the healthcare industry, experience in board governance, and
           experience in advising stakeholders of healthcare companies at various stages of
22         growth.
23
           40.   Defendant Barry J. Simon (''Simon'') has served as a member of the Board
24
     since 2007 and as Chief Corporate Affairs Officer since March 2021. Simon was also
25
     the Company’s CEO from 2007 to 2015.
26
           41.   The Company’s 2024 Proxy Statement stated the following about
27
     Defendant Simon:
28

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 1         Barry J. Simon, M.D. has served as a member of the Board since 2007 and as
           Chief Corporate Affairs Officer of the company since March 2021. Dr. Simon
 2         previously served as our President and Chief Administrative Officer from
 3         January 2017 to March 2021, and as President and Chief Operating Officer from
           2015 to 2016. From 2007 to 2015, he was our President and Chief Executive
 4
           Officer. He has served as president, chief executive officer and chairman of Brink
 5         Biologics Inc., a bioanalytics, reagents and testing services company (a company
 6         affiliated with Dr. Soon-Shiong), since March 2015. Previously, he held vice
           president, senior level, and advisory positions at F. Hoffmann-La Roche, a global
 7         healthcare company, Roche Labs, a pharmaceuticals company, Connetics
 8         Corporation, a specialty pharmaceutical company, Immunomedics, a
           biopharmaceutical company, Immusol, a biopharmaceutical company, HealthPro
 9         BioVentures, LLC, a healthcare and life sciences investment bank, and
10         NorthSound Capital, LLC, a U.S.-based hedge fund. He currently serves as a
           director of Viracta Therapeutics, Inc. (Nasdaq:VIRX), a biopharmaceutical
11         company, since March 2021. He previously served as a director of Cue
12         Biopharma, Inc. (Nasdaq:CUE), a biopharmaceutical company, from 2016 to
           June 2021 and as a director of Viracta from July 2017 to November 2020. He has
13
           broad experience in public and private settings, having led private and public
14         equity offerings, product and portfolio divestitures and acquisitions, strategic
15         licensing and joint ventures, as well as commercial product launches,
           investigational new drug and biologics license application regulatory filings,
16         human-enabling programs, manufacturing, quality control and life cycle
17         management. He has worked across several therapeutic areas including oncology,
           virology, ophthalmology and dermatology on products launches including
18         Xeloda®, Pegasys®, Fortovase®, Tamiflu®, Camptobell®, Boniva®, Fuzeon®,
19         Valcyt®, and Accutane®. He attended corporate training programs through the
           London School of Business and Amos Tuck School of Business at Dartmouth
20
           College. Dr. Simon trained clinically in Infectious Diseases at Albert Einstein
21         College of Medicine, Anesthesiology at The Mount Sinai Medical Center, and
22         Internal Medicine at New York University and received his M.D. from the SUNY
           Downstate Health Sciences Center in New York. We believe Dr. Simon is
23         qualified to serve as a member of the Board based on his extensive medical and
24         scientific knowledge and experience, and senior management experience in the
           biopharmaceutical industry.
25
           42.   Defendant David C. Sachs (''Sachs'') has served as Chief Financial Officer
26
     of the Company since July 2019. Additionally, Sachs is named as a defendant in the
27
     Securities Class Action.
28

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 1         43.    The Company’s 2024 Proxy Statement stated the following about
 2   Defendant Sachs:
 3         David Sachs has served as our Chief Financial Officer since March 2021. He
 4         previously served as the chief financial officer of NantCell, Inc. from July 2019
           to March 2021. He also served as chief financial officer of Integrity Healthcare,
 5         LLC (a NantWorks subsidiary) from February 2018 to August 2020. From April
 6         2011 to June 2019, he held various executive positions at NantWorks and its
           subsidiaries, including serving as chief financial officer of NantHealth, Inc. from
 7         2013 to 2015. Prior to NantWorks, he served in business development roles at
 8         Celgene Corporation and Abraxis BioScience and as an investment banker with
           Bank of America Merrill Lynch. Mr. Sachs received his B.A. in Economics from
 9
           the University of California at Los Angeles and his M.B.A. in Finance and
10         Strategy from the UCLA Anderson School of Management.
11
                  FIDUCIARY DUTIES OF THE INDIVIDUAL DEFENDANTS
12
13         44.    By reason of their positions as officers, directors, and/or fiduciaries of
14   ImmunityBio and because of their ability to control the business and corporate affairs
15   of ImmunityBio, the Individual Defendants owed ImmunityBio and its shareholders
16   fiduciary obligations of trust, loyalty, good faith, and due care.
17         45.    The Individual Defendants were and are required to use their utmost ability
18   to control and manage ImmunityBio in a fair, just, honest, and equitable manner.
19         46.    The Individual Defendants were and are required to act in furtherance of
20   the best interests of ImmunityBio and its shareholders to benefit all shareholders
21   equitably.
22         47.    Each director and officer of the Company owes ImmunityBio and its
23   shareholders the fiduciary duty to exercise good faith and diligence in the administration

24   of the Company.

25         48.    As fiduciaries of ImmunityBio, the Individual Defendants were able to and

26   did, directly and/or indirectly, exercise control over the wrongful acts complained of

27   herein because of their position and authority.

28         49.    The officers and directors of ImmunityBio were and are required to


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 1   exercise reasonable and prudent supervision over the management, policies, controls,
 2   and operations of the Company to discharge their duties.
 3         50.     Each Individual Defendant under their position as officers of
 4   ImmunityBio, owed to the Company and its shareholders the highest fiduciary duties of
 5   loyalty, good faith, care, and diligence in the management and administration of the
 6   affairs of the Company.
 7         51.     As ImmunityBio’s directors and officers, the Individual Defendants
 8   knowingly acted with reckless disregard for their obligations as fiduciaries because their
 9   conduct posed a significant risk of harm to the Company.
10         52.     The Individual Defendants had a duty to prevent and correct the
11   dissemination of erroneous, misleading, and deceitful information concerning, inter
12   alia, the Company’s financial condition, business operations, management,
13   performance, growth, earnings, and business prospects. Moreover, as senior officers of
14   a publicly traded company whose common stock was registered with the SEC, pursuant
15   to the Exchange Act, the Individual Defendants had a duty to act in the best interest of
16   the Company.
17         53.     As fiduciaries, the Individual Defendants had a duty to disclose in its

18   regulatory filings with the SEC all events described in this Complaint that it failed to

19   disclose so that the Company’s valuation and the common stock price would be based

20   on accurate information and to preclude deceptive practices in the market.

21          54. The Individual Defendants were required to exercise reasonable and

22      prudent supervision over the management, policies, practices, and internal controls
        of the Company to discharge their duties. Among other things, the Individual
23
        Defendants were required to:
24
                   a)    Ensure that the Company was operated in a diligent, honest, and
25
     prudent manner in accordance with the laws and regulations of Delaware, California,
26
     the United States, and pursuant to ImmunityBio’s Code of Conduct and internal
27
     guidelines;
28

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 1                b)     Conduct the affairs of the Company in an efficient, businesslike
 2   manner to provide the highest quality performance of its business, to avoid wasting the
 3   Company’s assets, and to maximize the value of the Company’s stock;
 4                c)     Remain informed as to how ImmunityBio conducted its operations,
 5   and, upon receipt of notice or information of imprudent or unsound conditions or
 6   practices, to make a reasonable inquiry in connection and in addition to that and to take
 7   steps to correct such conditions or practices;
 8                d)     Establish and maintain systematic, accurate records and reports of
 9   the business and internal affairs of ImmunityBio and procedures for the reporting of the
10   business and internal affairs to the Board and to periodically investigate, or cause an
11   independent investigation to be made of, said reports and records;
12                e)     Maintain and implement an adequate and functioning system of
13   internal legal, financial, and management controls, such that ImmunityBio’s operations
14   would comply with all laws and ImmunityBio’s financial statements and regulatory
15   filings filed with the SEC and disseminated to the public and the Company’s
16   shareholders would be accurate.
17                f)     Exercise reasonable control and supervision over the Company’s

18   officers and employee’s public statements and any other reports or information that the

19   Company was required by law to disseminate.

20                g)     Refrain from unduly benefiting themselves and other Company

21   insiders at the expense of the Company; and

22                h)     Examine and evaluate any reports of examinations, audits, or
     additional financial information concerning the financial affairs of the Company and to
23
     make full and accurate disclosure of all material facts concerning, inter alia, each of the
24
     subjects and duties set forth above.
25
           55.    Each of the Individual Defendants also bore a duty of loyalty to
26
     ImmunityBio and its shareholders, mandating the prioritization of the Company’s and
27
     its shareholders’ interests above their own in the management of the Company’s affairs
28

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 1   and prohibiting the use of their position, influence, or insight into the Company’s
 2   operations for personal gain.
 3         56.    During the pertinent times, the Individual Defendants served as agents for
 4   each other and for ImmunityBio, always operating within the parameters of their
 5   agency.
 6         57.    The Individual Defendants, through their advisory, executive, managerial,
 7   and directorial roles within ImmunityBio, were privy to detrimental, confidential
 8   information concerning the Company.
 9         58.    Due to their positions of influence and authority, the Individual Defendants
10   had the capability to, and indeed did, directly or indirectly control the improper actions
11   detailed in this complaint, as well as the content of the various public declarations made
12   by ImmunityBio.
13      CONSPIRACY, AIDING AND ABETTING, AND CONCERTED ACTION
14         59.    In committing the wrongful acts alleged herein, the Individual Defendants
15   have engaged in, or aligned themselves with, a common course of conduct, acting in
16   concert and conspiring with one another to further their misconduct. They caused the
17   Company to conceal the true facts as outlined in this complaint. Additionally, the
18   Individual Defendants aided, abetted, and/or assisted each other in breaching their
19   respective duties.
20         60.    The purpose and effect of the conspiracy, common enterprise, and/or
21   common course of conduct was, among other things, to enable and conceal the
22   Individual Defendants' violations of law, including breaches of fiduciary duty and
23   unjust enrichment.
24         61.    The Individual Defendants carried out their conspiracy, common
25   enterprise, and/or coordinated actions by causing the Company to deliberately,
26   recklessly, or negligently conceal material facts, fail to correct those misrepresentations,
27   and violate applicable laws.
28

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 1         62.      To advance this plan, conspiracy, and course of conduct, the Individual
 2   Defendants, both collectively and individually, carried out the actions described herein.
 3   As these actions were executed under the Board's authority, each of the Individual
 4   Defendants, being directors of ImmunityBio, was a direct, essential, and significant
 5   participant in the conspiracy, joint enterprise, and/or coordinated conduct alleged in this
 6   complaint.
 7         63.      Each of the Individual Defendants aided, abetted, and provided substantial
 8   assistance in the wrongdoings described herein. In providing such assistance, each
 9   Individual Defendant acted with actual or constructive knowledge of the primary
10   misconduct, either directly participated in or significantly contributed to the
11   commission of that wrongdoing, and was, or should have been, aware of their overall
12   role in furthering the misconduct.
13         64.      At all relevant times, each of the Individual Defendants acted as an agent
14   of the other Defendants and of ImmunityBio, and at all times operated within the course
15   and scope of that agency.
16                         IMMUNITYBIO’S CODE OF CONDUCT
17         65.      The Individual Defendants, like all employees, directors, and officers of
18   the Company, are required to comply with ImmunityBio’s Code of Business Conduct
19   and Ethics (the ''Code of Conduct''). The Code of Conduct states, in pertinent part, the
20   following:
21                                         INTRODUCTION
22         At ImmunityBio, Inc. ('ImmunityBio' or the 'Company'), we value our integrity
           above all else. As an employee or representative of ImmunityBio, we expect you
23
           to support our integrity by behaving lawfully and ethically at all times. This Code
24         of Business Conduct and Ethics (Code) serves as one of the guideposts for your
25         behavior ...

26         In general, we expect you to:
27
                  Comply with all applicable laws, rules, and regulations;
28

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 1
             Take responsibility for your actions and follow through on your
 2            commitments;
 3
 4           Avoid situations where your personal interests are, or appear to be, in
              conflict with ImmunityBio’s interests;
 5
 6           Protect and properly use ImmunityBio’s information, assets, and
              resources;
 7
 8           Protect information that is owned by our customers and vendors;
 9
             Communicate in an honest and open manner; and
10
11           Adhere to ImmunityBio’s standards for protecting the environment and the
              safety and health of our employees, our customers, our community, and
12            our contractors.
13
                                             ***
14
15       If you violate the law, this Code, the ImmunityBio comprehensive compliance
16       program, or another ImmunityBio policy or procedure, you will be subject to
         discipline up to and including immediate termination of employment…
17
18       This Code applies to all officers, employees, contract representatives, and agents
         of ImmunityBio.
19
20                                           ***
21                      PRINCIPLE 1: BE HONEST AND ETHICAL
22
         Fair Dealing
23
24                You must not improperly use business courtesies to gain a competitive
25       advantage. Offering, giving, soliciting, or receiving any form of bribe or kickback
         is strictly prohibited. You must treat customers, suppliers, competitors, fellow
26       employees, and other stakeholders honestly and fairly. Never take unfair
27       advantage of anyone through manipulation, concealment, disclosure of
         confidential information, or false or misleading statements.
28

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 1       ImmunityBio Records
 2              All ImmunityBio books, records, and accounts must be accurate and
 3       complete, and transactions must be recorded in a timely manner. You are
         personally responsible for the integrity of the information, reports, and records
 4
         under your control. You must never make any false or artificial entries for any
 5       purpose.
 6
                 Financial statements must be prepared in accordance with generally
 7       accepted accounting principles and must represent, in all material respects, the
 8       financial condition and results of the Company.
                                                 ***
 9       Public Communications
10
                You may not communicate externally on behalf of ImmunityBio unless
11       you are authorized to do so. ImmunityBio has established specific policies
12       regarding who may communicate information to the public, the press, market
         professionals (such as securities analysts, institutional investors, investment
13
         advisors, brokers and dealers) and security holders on behalf of ImmunityBio.
14
15                                             ***

16                      PRINCIPLE 2: COMPLY WITH THE LAW
17
                 ImmunityBio is committed to conducting its business activities in
18       accordance with applicable federal and state laws and regulations. You must
19       have a general understanding of the laws and regulations that apply to
         ImmunityBio’s business activities. Contact a member of the management team
20
         if you have any questions about whether certain conduct complies with the law.
21
22       Pharmaceutical Laws

23             The U.S. Food and Drug Administration (FDA) is the federal agency
24       responsible for overseeing the safety of pharmaceuticals, biologics, and other
         products under the Federal Food, Drug, and Cosmetic Act (FD&C Act) and its
25       implementing regulations. FDA regulates almost every aspect of ImmunityBio’s
26       business, including the research, development, manufacturing, distribution,
         marketing, and promotion of our products.
27
28                                             ***

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 1       Securities Laws
 2               You may not directly or indirectly—through, for example, significant
 3       others, family members or controlled entities—buy or sell stocks or other
         securities of ImmunityBio or any other company based on non-public
 4
         information obtained from your work at ImmunityBio. In addition, you may not
 5       “tip” others by providing them non-public information under circumstances that
 6       suggest that you were trying to help them make an investment decision. These
         obligations are in addition to your obligations with respect to non-public
 7       information generally.
 8               Under U.S. securities laws, it is unlawful for any person who has
         “material” non-public information about a company to trade in the stock or other
 9       securities of that company or to disclose such information to others who may
10       trade. Material non-public information is information about a company that is
         not known to the general public and that a typical investor would consider
11       important in making a decision to buy, sell, or hold securities. Violations of U.S.
12       securities laws may result in civil and criminal penalties, including disgorgement
         of profits, civil judgments, fines, and jail sentences.
13
                 You should be aware that stock market surveillance techniques are
14       becoming increasingly sophisticated, and the probability that U.S. federal or
15       other regulatory authorities will detect and prosecute even small-level trading is
         significant. Insider trading rules are strictly enforced, even in instances when the
16       financial transactions seem small.
17               You may not make an unauthorized disclosure of any non-public
         information acquired in the course of your service with ImmunityBio or misuse
18       material non-public information in securities trading. Any such actions will be
19       deemed violations of ImmunityBio’s Insider Trading Policy. All associates
         should be familiar with ImmunityBio’s policy regarding Insider Trading. If you
20
         have any questions at all regarding trading in ImmunityBio’s securities, contact
21       the Compliance Department for guidance.
22
                                                 ***
23
24            PRINCIPLE 3: COOPERATE WITH INVESTIGATIONS AND
                                 INQUIRIES
25
26       Government Requests and Investigations
27              It is ImmunityBio’s policy to cooperate with all government agencies
28       with respect to any request for information or facility visits in connection with a

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 1       government investigation.
                 If an employee is contacted by any government agency, he or she should
 2       immediately notify his or her supervisor. If an employee is approached in the
 3       field (e.g., at a customer’s office or at the employee’s home) by an investigator,
         the employee has the right to obtain legal representation before allowing the
 4
         investigator to proceed.
 5               If an investigator requests to see ImmunityBio documents, immediately
 6       notify the General Counsel and obtain approval before providing any materials.
         If the investigator presents a search warrant or a subpoena, the warrant or
 7       subpoena should be delivered immediately to the General Counsel, but the
 8       employee must not obstruct a search pursuant to a search warrant.
                 During a facility visit, employees should cooperate fully with inspectors
 9       throughout the inspection process, answering any appropriate questions the
10       inspectors may have.
                 If an employee receives an inquiry, a subpoena, or other legal document
11       regarding ImmunityBio’s business, whether at home or in the workplace, from a
12       governmental agency, ImmunityBio requests that the employee notify his or her
         supervisor and the General Counsel immediately. At times, we may be involved
13
         in litigation and, because we are in a heavily regulated business, we may be
14       subject to government reviews. As a result, ImmunityBio employees may receive
15       summons, subpoenas, and requests for production of documents.
                 Before accepting a summons, subpoena, or other service of process or
16       signing a summons, contact the General Counsel. You are not authorized to
17       accept service of process on behalf of the ImmunityBio. Do not release any
         documents or discuss the case without first notifying the General Counsel.
18               Employees should never provide false or misleading statements to any
19       government official or fail to disclose or take efforts toto conceal any information
         pertinent to an investigation.
20
21       Internal Audits and Investigations
22
                 As part of the ImmunityBio comprehensive compliance program, from
23
         time to time the Company will audit our compliance with internal policies, as
24       well as with laws and regulations. You must cooperate with all audits and be
25       truthful and accurate when responding to audit requests.
                 In addition, ImmunityBio promptly investigates all reports of misconduct.
26       As with audits, you must cooperate with such investigations and provide truthful
27       and accurate information if you are questioned in the course of an investigation.
         You must not mislead an investigator, alter, or destroy any relevant documents,
28

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 1       or otherwise impede or interfere with the investigation in any way. Impeding or
         interfering with an investigation can result in disciplinary action, up to and
 2       including termination.
 3
                                               ***
 4
 5          PRINCIPLE 5: COMPLY WITH IMMUNITYBIO POLICIES AND
 6                             PROCEDURES

 7       Policies and Procedures
 8
                In addition to this Code, ImmunityBio has adopted policies and procedures
 9       that govern all aspects of our business. Policies provide detailed legal and
10       compliance standards. Procedures set forth specific processes to follow.
                While some policies and procedures apply to all ImmunityBio employees,
11       others are tailored to specific job functions. You must know and comply with all
12       internal policies and procedures that apply to you.
13
         Seeking Guidance
14
15             If you are unsure whether particular conduct is consistent with a
         ImmunityBio policy or procedure, you should consult your supervisor before
16       engaging in the conduct.
17
         Approvals and Waivers
18
19              Any action (or inaction) prohibited by this Code may be specifically
         approved in advance, or specifically waived subsequently, by the Board of
20
         Directors or its designated committee. Except as otherwise provided in the Code,
21       the Board of Directors or its designated committee must review and approve any
22       matters requiring special permission under the Code for a member of the Board
         of Directors or an executive officer. Except as otherwise provided in the Code,
23       the Chief Financial Officer or appropriate Compliance Department personnel
24       must review and approve any matters requiring special permission under the
         Code for any other employee, agent, or contractor.
25              Any approval or any waiver of any provision of this Code for a member of
26       the Board of Directors or an executive officer must be approved in writing by the
         Board of Directors or its designated committee and promptly disclosed, along
27       with the reasons for the waiver, to the extent required by law or regulation. Any
28       approval or any waiver of any provision of this Code with respect to any other

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 1         employee, agent, or contractor must be approved in writing by the Chief Financial
           Officer or appropriate Compliance Department personnel. Copies of approvals
 2         and waivers will be retained by ImmunityBio.
 3         Reporting Violations
                  You must immediately report any violations or potential violations of this
 4
           Code, a law or regulation, or an ImmunityBio policy or procedure to your
 5         supervisor. You may report violations or potential violations by using the
 6         Company’s reporting hotline by calling 1-833-7658563, online at
           immunitybioinc.ethicspoint.com, or on a mobile intake site at
 7         immunitybiomobile.ethicspoint.com. You must also cooperate with any
 8         investigations of wrongdoing.
                  You will not be disciplined or retaliated against for making a good faith
 9         report of a violation or potential violation, unless it is your own.
10               IMMUNITYBIO’S CORPORATE GOVERNANCE GUIDELINES
11         66.    ImmunityBio’s Amended and Restated Corporate Governance Guidelines
12   (the "Guidelines") emphasize the Board’s responsibility to ensure transparency,
13   integrity, and accountability in all communications and disclosures made by the
14   company. According to the Guidelines, the Board is explicitly tasked with overseeing
15   management’s performance and ensuring that stockholders’ interests are protected:
16
17          1. Role of the Board

18                The role of the Board of Directors at the Company is to oversee the
19         performance of the chief executive officer (the “CEO”) and other senior
           management and to assure that the best interests of stockholders are being served.
20         To satisfy this responsibility, the directors are expected to take a proactive
21         approach to their duties and function as active monitors of corporate
           management. Accordingly, directors provide oversight in the formulation of the
22
           long term strategic, financial and organizational goals of the Company and of the
23         plans designed to achieve those goals. In addition, the Board reviews and
24         approves standards and policies to ensure that the Company is committed to
           achieving its objectives through the maintenance of the highest standards of
25         responsible conduct and ethics and to assure that management carries out their
26         dayto-day operational duties in a competent and ethical manner.
27              The day-to-day business of the Company is carried out by its employees,
28         managers and officers, under the direction of the CEO and the oversight of the

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 1         Board, to enhance the long term value of the Company for the benefit of
           stockholders. The Board and management also recognize that creating long term
 2         enterprise value is advanced by considering the interests and concerns of other
 3         stakeholders, including the Company’s employees, customers, creditors and
           suppliers as well as the community generally.
 4
 5                Information and data that are important to the Board's or applicable Board
 6         committee’s understanding of the business to be conducted at a Board or Board
           committee meeting, as applicable, should generally be distributed in writing to
 7         the Board or such Board committee a reasonable time in advance of such meeting
 8         to allow for sufficient review of the materials. Directors should review in
           advance any materials sent to them before each Board and Board committee
 9         meeting. Each director should endeavor to attend all Board meetings and all
10         meetings of the Board committees on which such director sits.
11                The directors know their position requires them to ask probing questions
12         of management and outside advisors. The directors also rely on the advice,
           reports and opinions of management, counsel and expert advisers. In doing so,
13
           the Board evaluates the qualifications of those it relies upon for information and
14         advice and also looks to the processes used by managers and advisors in reaching
15         their recommendations. In addition, the Board has the authority to hire outside
           advisors at the Company’s expense if they feel it is appropriate.
16
17                                            ***
18                IMMUNITYBIO’S AUDIT COMMITTEE CHARTER

19         67.   In addition to these duties, under the Audit Committee Charter in effect

20   during relevant times, Defendants Blaszyk (Chair), Cohen, Maxwell, and Selecky

21   (''Audit Committee Defendants'') owed specific additional duties to ImmunityBio.
     Specifically, the Audit Committee Charter States:
22
23         PURPOSE
24
            The purpose of the Audit Committee (the “Committee”) is to assist the Board of
25         Directors (the “Board”) of ImmunityBio, Inc. (the “Company”) in fulfilling its
26         responsibilities for overseeing:

27
28

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 1           The Company’s accounting and financial reporting processes and internal
              control over financial reporting, as well as the audit and integrity of the
 2            Company’s financial statements.
 3
 4           The qualifications, independence and performance of the Company’s
              independent registered public accounting firm (the “independent auditor”).
 5
 6           The Company’s compliance with applicable law (including U.S. federal
              securities laws and other legal and regulatory requirements).
 7           Risk assessment and risk management.
 8
 9           Such other matters as provided in this charter.

10                                             ***
11
         RESPONSIBILITIES
12
13       The following are the principal recurring responsibilities of the Committee. The
         Committee may perform such other functions as are consistent with its purpose
14       and applicable law, rules and regulations or as the Board may request.
15
         1. Select and Hire the Independent Auditor. The Committee shall be directly
16
            responsible for appointing, compensating, retaining, overseeing and, where
17          appropriate, replacing any independent auditor engaged by the Company to
18          prepare or issue an audit report or perform any other audit, review or
            attestation services for the Company. The independent auditor will report
19          directly to the Committee and be ultimately accountable to the Board. The
20          Committee has sole authority to approve the hiring and discharging of the
            independent auditor, all audit engagement fees and terms and all permissible
21          non-audit engagements with the independent auditor.
22
         2. Supervise and Evaluate the Independent Auditor. The Committee will:
23
24         Oversee and, at least annually, evaluate the work of the independent auditor
25          or any other registered public accounting firm engaged for the purpose of
            preparing or issuing an audit report or performing other audit, review or
26          attest services for the Company, which evaluation shall include a review and
27          evaluation of the lead partner of the independent auditor. The Committee
28

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 1           shall review, in consultation with the independent auditor, the annual audit
             plan and scope of audit activities.
 2
 3         At least annually, obtain and review a report by the independent auditor that
            describes (i) the independent auditor’s internal quality control review
 4
            procedures, and (ii) any material issues raised by the most recent internal
 5          quality-control review, or peer review, of the independent auditor or by any
 6          inquiry or investigation by governmental or professional authorities, within
            the preceding five years, regarding any independent audit performed by the
 7          independent auditor, and any steps taken to deal with any such issues.
 8
         3. Evaluate the Independence of the Independent Auditor. The Committee will:
 9
10         Review and discuss with the independent auditor the written independence
            disclosures required by the applicable requirements of the Public Company
11
            Accounting Oversight Board or other regulatory body.
12
13         Review and discuss with the independent auditor at least annually any
            relationships or services (including permissible non-audit services) that may
14          affect its objectivity and independence.
15
           Review the rotation of the independent auditor’s lead audit and concurring
16
            partners and the rotation of other audit partners, with applicable time-out
17          periods, in accordance with applicable law.
18
           Take appropriate action to oversee the independence of the independent
19          auditor.
20
         4. Approve Audit and Non-Audit Services and Fees. The Committee shall (i)
21          review and approve, in advance, the scope and plans for the audits and the
22          audit fees and (ii) approve in advance (or, where permitted under the rules and
            regulations of the SEC, subsequently) all non-audit and tax services to be
23
            performed by the independent auditor that are not otherwise prohibited by law
24          or regulations and any associated fees. The Committee shall also approve all
25          audit and permitted non-audit and tax services that may be provided by other
            registered public accounting firms. The Committee may, in accordance with
26          applicable law, establish pre-approval policies and procedures for the
27          engagement of independent accountants and any other registered public
            accounting firm to render services to the Company, including, but not limited
28

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 1          to, policies that would allow the delegation of pre-approval authority to one
            or more members of the Committee.
 2
 3       5. Review Financial Statements. The Committee shall review and discuss the
            following with management, the internal auditors, if applicable, and the
 4
            independent auditor, as applicable:
 5
 6         The scope and timing of the annual audit of the Company’s financial
            statements.
 7
 8         The Company’s annual audited and quarterly unaudited financial statements
            and annual and quarterly reports on Form 10-K and 10-Q, including the
 9          disclosures in “Management’s Discussion and Analysis of Financial
10          Condition and Results of Operations”, and recommend to the Board whether
            the audited financial statements and “Management’s Discussion and
11
            Analysis of Financial Condition and Results of Operations” should be
12          included in the Company’s Form 10-K.
13
           The results of the independent audit and the quarterly reviews of the
14          Company’s financial statements, and the independent auditor’s opinion on
15          the audited financial statements.
16
           The reports and certifications regarding internal control over financial
17          reporting and disclosure controls and procedures.
18
           Major issues regarding accounting principles and financial statement
19          presentation, including any significant changes in the Company’s selection
20          or application of accounting principles.
21         Analyses prepared by management or the independent auditor setting forth
22          significant financial reporting issues and judgments made in connection with
            the preparation of the financial statements.
23
24         The effect of regulatory and accounting initiatives, as well as off-balance
25          sheet structures, on the Company’s financial statements.

26         Any significant changes required or taken in the audit plan as a result of any
27          material control deficiency.
28

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 1         Any problems or difficulties the independent auditor encountered in the
            course of its audit work, including any restrictions on the scope of the
 2          auditor’s activities or on access to requested information, and management’s
 3          response.
 4
           Any significant disagreements between management and the independent
 5          auditor.
 6
         6. Reports and Communications from the Independent Auditor. The Committee
 7          shall review and discuss reports from the independent auditor concerning the
 8          following:
 9
           Critical accounting policies and practices to be used by the Company.
10
11         Alternative treatments of financial information within GAAP that the
            auditor has discussed with management, ramifications of the use of these
12          alternative disclosures and treatments, and the treatment preferred by the
13          independent auditor if different from that used by management.
14         Any material written communications between the independent auditor and
15          management, such as any management letter or schedule of unadjusted
            differences.
16
17         Any matters required to be communicated to the Committee under generally
18          accepted auditing standards and other legal or regulatory requirements.
19       7. Audit Committee Report. The Committee will prepare the report of the Audit
20          Committee that SEC rules require to be included in the Company’s annual
            proxy statement.
21
22       8. Earnings Press Releases and Earnings Guidance. The Committee will review,
            in general, earnings press releases (including any use of pro form a or other
23
            non-GAAP information), and review and discuss with management and the
24          independent auditors policies with respect to earnings press releases, financial
25          information and earnings guidance provided to the public, analysts and ratings
            agencies.
26
27       9. Internal Controls. The Committee shall, as appropriate, review and discuss
            with management, the internal auditors, if applicable, and the independent
28

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 1          auditor the adequacy and effectiveness of the Company’s internal controls,
            including any changes, significant deficiencies or material weaknesses in
 2          those controls reported by the independent auditor, the internal auditors, if
 3          applicable, or management and any special audit steps adopted in light of any
            material control deficiencies, and any fraud, whether or not material, that
 4
            involves management or other Company employees who have a significant
 5          role in the Company’s internal controls.
 6
         10. Disclosure Controls and Procedures. The Committee shall as appropriate
 7          review and discuss the adequacy and effectiveness of the Company’s
 8          disclosure controls and procedures.
 9       11. Legal and Regulatory Compliance. The Committee shall:
10
             Review and discuss with management, the internal auditors, if applicable,
11
              and the independent auditor (i) the overall adequacy and effectiveness of
12            the Company’s legal, regulatory and ethical compliance programs,
13            including the Company’s Code of Business Conduct and Ethics,
              compliance with anti-bribery and anti-corruption laws and regulations, and
14            compliance with export control regulations and (ii) reports regarding
15            compliance with applicable laws, regulations and internal compliance
              programs.
16
17           Discuss with management and the independent auditor any
              correspondence with regulators or governmental agencies and any
18
              published reports that raise material issues regarding the Company’s
19            financial statements or accounting policies.
20
             Discuss with the Company’s senior legal officer any legal matters that may
21            have a material impact on the financial statements or the Company’s
22            compliance procedures.
23       12. Complaints. The Committee shall establish and oversee procedures for the
24          receipt, retention and treatment of complaints on accounting, internal
            accounting controls or audit matters, as well as for confidential and
25
            anonymous submissions by the Company’s employees of concerns regarding
26          questionable accounting or auditing matters.
27
         13. Risk Assessment and Risk Management. The Committee shall review and
28          discuss with management, the internal auditors, if applicable, and the

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 1               independent auditor the Company’s major risk exposures (whether financial,
                 operating or otherwise) and the steps management has taken to monitor,
 2               control and report those exposures, including the Company’s guidelines and
 3               procedures to govern the process by which risk assessment and risk
                 management are handled.
 4
 5         14. Hiring of Auditor Personnel. The Committee shall set hiring policies with
 6            regard to employees and former employees of the independent auditor and
              oversee compliance with such policies.
 7
 8                                                    ***
 9               The function of the Committee is primarily one of oversight. The Company’s
10               management is responsible for preparing the Company’s financial statements,
                 and the independent auditor is responsible for auditing and reviewing those
11               financial statements. The Committee is responsible for assisting the Board in
12               overseeing the conduct of these activities by management and the independent
                 auditor. The Committee is not responsible for providing any expert or special
13
                 assurance as to the financial statements or the independent auditor’s work. It
14               is recognized that the members of the Committee are not full-time employees
15               of the Company, that it is not the duty or responsibility of the Committee or
                 its members to conduct “field work” or other types of auditing or accounting
16               reviews or procedures or to set auditor independence standards, and that each
17               member of the Committee shall be entitled to rely on (i) the integrity of those
                 persons and organizations within and outside the Company from which the
18               Committee receives information and (ii) the accuracy of the financial and
19               other information provided to the Committee, in either instance absent actual
                 knowledge to the contrary.
20
21                                                   ***
22         68.      Individual Defendants, because of their positions of control and authority
23   as officers and/or directors of ImmunityBio, were able to and did directly or indirectly,
24   exercise control over the wrongful acts complained of herein. The Individual
25   Defendants also failed to prevent the other Individual Defendants from taking such
26   illegal action. As a result, and in addition to the damages the Company already incurred,
27   ImmunityBio has needlessly expended and will continue to needlessly expend,
28   significant sums of money.

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 1                               FACTUAL BACKGROUND
 2         69.    ImmunityBio claims to be a biotechnology company in the clinical stage,
 3   concentrating on developing immunotherapies to treat cancer and other infectious
 4   diseases. Immunotherapies are a broad category of drugs designed to enhance or
 5   stimulate the body’s immune system to combat diseases, including cancer. These
 6   therapies have gained significant popularity in oncology, particularly when used
 7   alongside traditional cancer treatments. ImmunityBio’s primary product candidate is a
 8   compound called N-803, which is marketed under the name Anktiva.
 9         70.    ImmunityBio was created through the merger of Legacy ImmunityBio and
10   NantKwest on March 9, 2021.          ImmunityBio assumed the assets of both bio-
11   pharmaceutical companies and its publicly traded shares continued to be listed on the
12   NASDAQ under the ticker symbol IBRX as of March 10, 2021.
13         71.    Prior to the merger, Legacy ImmunityBio had acquired Altor BioScience
14   Corporation around July 2017. With this acquisition, Legacy ImmunityBio gained
15   ownership of Altor's leading cytokine-based therapeutic compound, ALT-803, and
16   continued its development under the name N-803. By August 2020, N-803 was
17   internally referred to as Anktiva.
18         72.    At the time of the Altor acquisition, Altor had recently begun a Phase 3
19   clinical trial for N-803 in combination with BCG, targeting BCG-unresponsive patients
20   and papillary forms of NMIBC.
21         73.    During this period, Altor had outsourced the production of Anktiva to a
22   predecessor of AGC Biologics, Inc. ("AGC"), a third-party contract manufacturing
23   organization (CMO) specializing in protein therapy manufacturing, which had recently
24   been acquired by Asahi Glass Company.
25         74.    In fact, in April 2017, just two months prior, Altor had entered into a
26   manufacturing agreement with this CMO to produce Anktiva for its upcoming Phase 3
27   trials. After a corporate reorganization in January 2018, the CMO was renamed AGC.
28

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 1         75.    Before a new drug can be commercially distributed across state lines, it
 2   must receive approval from the FDA. The FDA's regulations differentiate between
 3   chemically synthesized drugs, referred to as "small molecule" drugs, and therapies
 4   derived from living organisms, known as "biologics." Unlike small molecule drugs, the
 5   process to seek FDA approval for a biologic, such as Anktiva, involves submitting a
 6   biologic license application (“BLA”).
 7         76.    A BLA must adhere to stringent guidelines set forth by the FDA rules and
 8   guidance. Generally, it contains data and supporting materials gathered from clinical
 9   trials, as well as other necessary information to help the FDA assess whether the product
10   meets the required standards for approval. This includes details about how the product
11   is manufactured. In practice, a BLA is an extensive collection of materials, typically
12   including raw study data, historical records, written summaries, and academic literature,
13   all organized in a specific format mandated by the FDA.
14         77.    The part of the BLA that details the drug's manufacturing process and
15   quality is called the Chemistry, Manufacturing, and Controls (“CMC”) section. Unlike
16   small molecule drugs, biologics are structurally complex and not easily defined or
17   characterized. The large-scale production of biologics involves numerous highly

18   technical steps, each of which must be tightly regulated to ensure the final product is

19   consistent and free of impurities. As a result, the CMC section includes comprehensive

20   information about the entire process, including a full description of manufacturing steps

21   from beginning to end, in-process controls at each stage, analytical methods for product

22   testing at various phases, and stability testing to demonstrate that the product maintains
     its integrity over time, accompanied by relevant supporting documentation.
23
           78.    The CMC section of the BLA not only outlines the proposed
24
     manufacturing process and protocols for large-scale production, but also must include
25
     data from previously-produced process performance qualification (PPQ) batches made
26
     using the specified manufacturing processes and equipment. The aim of these
27
     qualification studies is to verify that the proposed manufacturing process can
28

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 1   consistently produce results within the predetermined specifications at a commercial
 2   scale.
 3            79.   Crucially, the FDA cannot approve a BLA unless it determines from the
 4   submitted materials that the manufacturing process adheres to current Good
 5   Manufacturing Practices (“cGMP”). cGMP represents a set of minimum standards and
 6   procedures outlined in FDA regulations that companies must follow to ensure that the
 7   production, processing, packaging, and storage of drugs are properly controlled. The
 8   FDA has stated that these standards ensure the "identity, strength, quality, and purity"
 9   of drugs and help prevent issues like “contamination, mix-ups, deviations, failures, and
10   errors.” Any drug produced using systems that do not comply with these long-standing
11   cGMP regulations is considered "adulterated," and the responsible party may face
12   regulatory action.
13            80.   Once a BLA is submitted, the timeline for the FDA to take action is
14   dictated by specific rules. Initially, within 60 days, the FDA will determine whether the
15   BLA is complete enough to "file" it for a thorough review.
16            81.   During the review process, the FDA will perform a "pre-license
17   inspection" at each facility involved in drug manufacturing, scheduled at a

18   predetermined time. This inspection is intended to verify that the facilities meet the

19   necessary regulatory standards, including compliance with cGMP. Any cGMP

20   violations found during the inspection can result in the denial of the product license.

21            82.   Pre-license inspections adhere to a standard protocol. Inspectors fulfill

22   their duties by both observing the facility's operations and reviewing relevant records
     that document past activities. Due to the importance of this inspection, many
23
     manufacturers conduct mock inspections, perform cGMP audits, or address any
24
     compliance gaps before the FDA review period to reduce the risk of negative findings.
25
              83.   Upon completing its review, the FDA will either approve the BLA or issue
26
     a complete response letter (“CRL”) to the sponsor. A CRL details any problems
27
     identified during the review that prevent the BLA from being approved in its current
28

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 1   form and, when applicable, suggests actions the sponsor can take to resolve the issues
 2   or improve the application for approval. After receiving a CRL, the applicant can either
 3   resubmit the BLA with revisions to address the deficiencies identified or choose to
 4   withdraw the application.
 5         84.    Between March 11, 2021, and March 19, 2021, the FDA carried out a non-
 6   routine inspection at the AGC facility where Anktiva was produced. This inspection
 7   resulted in the issuance of a Form 483, a document used to formally record significant
 8   deficiencies identified during the inspection that, in the inspectors' judgment, represent
 9   violations of FDA regulations, including cGMP. FDA investigators ensure that each
10   observation in a Form 483 is clear, detailed, and significant. The document is then
11   presented to and discussed with the company’s senior management at the end of the
12   inspection to make sure they fully understand the observations and their significance.
13         85.    The Form 483 issued by the FDA following the March 2021 inspection
14   included a striking list of sixteen objectionable observations, each supported by
15   numerous examples. Key issues included AGC’s quality unit failing to properly
16   investigate deviations, inadequate oversight of manufacturing procedures, insufficient
17   documentation for quality control testing, poorly qualified and validated manufacturing

18   processes, and gaps in record-keeping, which left inspectors unable to determine if

19   manufacturing was under proper control. In response, AGC committed to implementing

20   a Corrective and Preventive Action (CAPA) plan, which included conducting a data

21   integrity risk assessment for its computerized systems.

22         86.    Just four months later, from July 12, 2021, to July 23, 2021, the FDA
     conducted a routine cGMP inspection of the same facility. This inspection led to the
23
     issuance of a three-item Form 483. Notably, some of the issues identified during the
24
     July 2021 inspection would reappear during the FDA's pre-license inspection in
25
     February 2023. Furthermore, the FDA criticized AGC for its failure to document
26
     conclusions or follow-up actions in response to deviations.
27
28

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 1         87.    Despite the FDA identifying these serious quality deficiencies, the AGC
 2   facility continued to struggle with various quality and control issues prior to the Anktiva
 3   BLA submission and the following pre-license FDA inspection.
 4         88.    On May 23, 2022, ImmunityBio announced that it had submitted a BLA
 5   to the FDA for Anktiva in combination with BCG for the treatment of BCG-
 6   unresponsive patients with the in the form of NMIBC. The BLA included data from
 7   previous clinical studies in this patient population, including the recently completed
 8   Phase 3 trial, as well as at least three completed PPQ runs for Anktiva at the production
 9   facility. ImmunityBio requested priority review for the BLA. In late July 2022, the FDA
10   accepted the BLA for review and set a target PDUFA date of May 23, 2023, placing the
11   BLA on the standard 10-month review timeline.
12         89.    On November 1, 2022, the FDA notified AGC that it would be conducting
13   a pre-license inspection in February 2023 at the facility responsible for manufacturing
14   the drug substance for Anktiva, in connection with the pending BLA for Anktiva.
15         90.    A team of six cross-functional FDA specialists carried out the pre-license
16   inspection of the AGC facility responsible for manufacturing Anktiva from February 2,
17   2023, to February 10, 2023. ImmunityBio sent at least six representatives to attend the

18   inspection and developed a plan to keep leadership updated on the inspection's progress.

19         91.    However, that plan changed when the FDA identified several deficiencies

20   on the very first day of the inspection. In response, Defendant Adcock immediately flew

21   to Washington overnight to be present for the following days of the inspection.

22   Defendant Soon-Shiong insisted on receiving a personal debriefing call at the end of
     each day. He also demanded that ImmunityBio employees be present in the room with
23
     the inspectors, and AGC eventually agreed to have one of their employees provide real-
24
     time updates to ImmunityBio’s leadership during the inspection.
25
           92.    At the close-out meeting on February 10, 2023, the FDA issued a sharply
26
     critical, 15-page Form 483 containing five items that outlined numerous regulatory
27
     violations at the facility. The objectionable conditions were categorized into five main
28

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 1   areas, in line with FDA standard practice, each backed by extensive examples detailing
 2   the observations.
 3           93.    The inspectors identified numerous instances of inadequate deviation
 4   management, some dating back to January 2021.
 5           94.    During the closeout meeting, FDA personnel reviewed each observation
 6   with AGC's senior management, including those mentioned above. In response, AGC
 7   management stated that they "understood" each observation and had no additional
 8   comments.
 9           95.    To make matters worse, from January 11, 2023, to January 16, 2023, three
10   FDA specialists conducted a pre-license inspection at the facility operated by the CMO
11   responsible for Anktiva's fill site. At the conclusion of the inspection, the FDA issued a
12   five-item Form 483 to the facility's management, outlining several objectionable
13   conditions. These included (1) the site used equipment and conditions that were not
14   properly validated through qualification studies; and (2) there was inadequate
15   equipment maintenance.
16                 MATERIALLY FALSE AND MISLEADING STATEMENTS
17           96.    Despite being aware of the persistent and significant cGMP failures at

18   AGC, the Individual Defendants made multiple false and misleading statements to

19   investors regarding the Company's manufacturing strategies and capabilities.

20           97.    Among other things, the March 10, 2021, Form 8-K disclosed that the

21   company had updated its prior disclosures regarding its business and risk factors

22   following the Legacy ImmunityBio-NantKwest merger. Form 8-K emphasized that
     cGMP manufacturing was one of the Company's core competencies. The filing stated,
23
     in relevant part:1
24
             ImmunityBio, together with its merger with NantKwest, has now progressed into
25
             a leading late-stage clinical company with a broad immunotherapy clinical-stage
26           pipeline of over 40 clinical trials in Phase I, II and III development (company
27
28   1
         Emphases are added unless otherwise noted.

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 1         sponsored and investigator initiated) across 19 indications in solid and liquid
           cancers and infectious diseases….
 2
 3         The expansive clinical-stage pipeline and intellectual property portfolio with 17
           first in human antibody cytokine fusion proteins, chemo immune-modulators,
 4
           vaccine vectors and cell therapies in clinical trials, including 25 in Phase II to III
 5         clinical trials, as well as a strong global intellectual property portfolio of issued
 6         and pending worldwide patent applications with patent life extending to 2035 and
           beyond, places ImmunityBio in a leading position to transform immunotherapy
 7         care beyond current standards of care. In addition, the company has adopted the
 8         strategy of establishing GMP manufacturing capacity at scale and to date, the
           company has cutting-edge cell manufacturing expertise, ready-to-scale facilities,
 9         with extensive and seasoned R&D, clinical trial, and regulatory operations and
10         development teams, which together will occupy over 400,000 square feet of
           manufacturing and R&D facilities.
11
12         98.    A key component of ImmunityBio's current business strategy was its
13   investment in manufacturing capabilities for antibody cytokine fusion proteins,
14   including Anktiva:
15
           We seek to become the leading global immunological discovery and therapeutics
16         company by creating the next generation of immunotherapies to address serious
17         unmet needs within oncology and infectious diseases. To achieve this goal, the
           key elements of our strategy include:
18         …
19              Optimizing investment in our discovery, development and manufacturing
           capabilities for our next generation targeted antibody cytokine fusion proteins
20
           and vaccine candidates, as well as for cell therapies including utilizing our just-
21         in-time, decentralized advanced cell therapy GMP-in-a-box manufacturing
22         technologies.

23
           99.    Additionally, the March 10, 2021, Form 8-K highlighted specific risks that
24
     could negatively affect ImmunityBio's business, financial condition, operating results,
25
     or prospects if they materialized, including the following:
26
27         The manufacture of our product candidate is complex, and we may encounter
           difficulties in production, particularly with respect to process development,
28

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 1         quality control, or scaling-up of our manufacturing capabilities. If we or our
           related parties, or any of our third-party manufacturers encounter such
 2         difficulties, our ability to provide supply of our product candidates for clinical
 3         trials or our products for patients, if approved, could be delayed or stopped, or
           we may be unable to maintain a commercially viable cost structure.
 4
 5         Currently we manufacture our product candidates or use CMOs.
 6         …
           In addition, the manufacturing process and facilities for any products that we may
 7         develop are subject to FDA and foreign regulatory authority approval processes,
 8         and we or our CMOs will need to meet all applicable FDA and foreign regulatory
           authority requirements, including cGMP, on an ongoing basis. The cGMP
 9         requirements include quality control, quality assurance and the maintenance of
10         records and documentation. The FDA and other regulatory authorities enforce
           these requirements through facility inspections. Manufacturing facilities must
11         submit to pre-approval inspections by the FDA that will be conducted after we
12         submit our marketing applications, including our BLAs and NDAs, to the FDA.
           Manufacturers are also subject to continuing FDA and other regulatory authority
13
           inspections following marketing approval. Further, we and our third-party CMOs
14         must supply all necessary chemistry, manufacturing and quality control
15         documentation in support of a BLA or NDA on a timely basis. There is no
           guarantee that we or our CMOs will be able to successfully pass all aspects of
16         a pre-approval inspection by the FDA or other foreign regulatory authorities.
17         …
           Our or our CMO’s manufacturing facilities may be unable to comply with our
18         specifications, cGMP, and with other FDA, state, and foreign regulatory
19         requirements. Poor control of production processes can lead to the introduction
           of adventitious agents or other contaminants, or to inadvertent changes in the
20
           properties or stability of product candidates that may not be detectable in final
21         product testing. If we or our CMOs are unable to reliably produce products to
22         specifications acceptable to the FDA or other regulatory authorities, or in
           accordance with the strict regulatory requirements, we may not obtain or
23         maintain the approvals we need to commercialize such products.
24
           100. On March 10, 2021, ImmunityBio issued a press release announcing that
25
     the Company's common stock had begun trading on the NASDAQ, following the
26
     completion of the Legacy ImmunityBio-NantKwest merger. The press release stated the
27
     following:
28

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 1         ImmunityBio is a leading producer of cryopreserved and clinical dose forms of
           off-the-shelf natural killer (NK) cell therapies. The company has established
 2         GMP manufacturing capacity at scale with cutting-edge cell manufacturing
 3         expertise, ready-to-scale facilities, extensive and seasoned R&D, clinical trial,
           and regulatory operations and development teams.
 4
 5         101. On March 10, 2021, ImmunityBio issued a press release announcing that
 6   the Company's common stock had begun trading on the NASDAQ, following the

 7   completion of the Legacy ImmunityBio-NantKwest merger. The press release stated the

 8   following:

 9         ImmunityBio is a leading producer of cryopreserved and clinical dose forms of
           off-the-shelf natural killer (NK) cell therapies. The company has established
10         GMP manufacturing capacity at scale with cutting-edge cell manufacturing
11         expertise, ready-to-scale facilities, extensive and seasoned R&D, clinical trial,
           and regulatory operations and development teams.
12
13         102. On April 30, 2021, ImmunityBio filed an automatic shelf registration

14   statement on Form S-3 with the SEC to register an unspecified number of debt and
     equity securities for future issuance (on the “shelf”), which included a related
15
     prospectus (“April 2021 Shelf Registration Statement”). The April 2021 Shelf
16
     Registration Statement was signed by the Individual Defendants. On May 3, 2023,
17
     ImmunityBio filed a prospectus supplement to the April 2021 Shelf Registration
18
     Statement with the SEC to facilitate an open market, or “at-the-market,” sales
19
     agreement the Company entered into with Jeffries LLC for up to a maximum aggregate
20
     amount of $500 million of its common stock. As supplemented by the April 2021
21
     Prospectus Supplement, the April 2021 Shelf Registration Statement expressly
22
     incorporated by reference the March 10, 2021 Form 8-K, including the materially false
23
     and misleading statements.
24
           103. Furthermore, the April 2021 Shelf Registration Statement specifically
25
     incorporated information from the Definitive Proxy Statement on Schedule 14A, which
26
     ImmunityBio had filed with the SEC on February 2, 2021 (the "Merger Proxy
27
     Statement"). This included all details under the section titled "Business of
28

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 1   ImmunityBio-Manufacturing." In that section, the company claimed that the third-party
 2   manufacturer it used for Anktiva maintained robust manufacturing standards:
 3         For our Anktiva product candidate, we have contracted with a multi-national
 4         biologics manufacturer with multiple cGMP-compliant facilities in the United
           States, Europe and Asia for our current clinical trials and future commercial sales,
 5         if approved. The facilities have robust process development and validation and
 6         quality oversight with high-capacity production suites operating multiple 2,000-
           20,000L production bioreactors.
 7
 8         104. On May 14, 2021, ImmunityBio filed a quarterly report on Form 10-Q with

 9   the SEC for the quarter ending March 31, 2021 (the "1Q 2021 Form 10-Q"), which was
     signed by Defendants Adcock and Sachs. The 1Q 2021 Form 10-Q detailed various
10
     risks that "could" significantly affect ImmunityBio's business, financial condition,
11
     operating results, or prospects if they materialized, including the following:
12
           The manufacture of our product candidates is complex, and we may encounter
13
           difficulties in production, particularly with respect to process development,
14         quality control, or scaling-up of our manufacturing capabilities. If we or our
15         related parties, or any of our third party manufacturers encounter such
           difficulties, our ability to provide supply of our product candidates for clinical
16         trials or our products for patients, if approved, could be delayed or stopped, or
17         we may be unable to maintain a commercially viable cost structure.
           …
18         Currently we manufacture our product candidates or use CMOs.
19         …
           In addition, the manufacturing process and facilities for any products that we may
20
           develop are subject to FDA and foreign regulatory authority approval processes,
21         and we or our CMOs will need to meet all applicable FDA and foreign regulatory
22         authority requirements, including cGMP, on an ongoing basis. The cGMP
           requirements include quality control, quality assurance and the maintenance of
23         records and documentation. The FDA and other regulatory authorities enforce
24         these requirements through facility inspections. Manufacturing facilities must
           submit to pre-approval inspections by the FDA that will be conducted after we
25         submit our marketing applications, including our BLAs and NDAs, to the FDA.
26         Manufacturers are also subject to continuing FDA and other regulatory authority
           inspections following marketing approval. Further, we and our third-party CMOs
27         must supply all necessary chemistry, manufacturing and quality control
28         documentation in support of a BLA or NDA on a timely basis. There is no

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 1         guarantee that we or our CMOs will be able to successfully pass all aspects of
           a pre-approval inspection by the FDA or other foreign regulatory authorities.
 2         …
 3         Our or our CMO’s manufacturing facilities may be unable to comply with our
           specifications, cGMP, and with other FDA, state, and foreign regulatory
 4
           requirements. Poor control of production processes can lead to the introduction
 5         of adventitious agents or other contaminants, or to inadvertent changes in the
 6         properties or stability of product candidates that may not be detectable in final
           product testing. If we or our CMOs are unable to reliably produce products to
 7         specifications acceptable to the FDA or other regulatory authorities, or in
 8         accordance with the strict regulatory requirements, we may not obtain or
           maintain the approvals we need to commercialize such products.
 9
           105. On August 12, 2021, ImmunityBio filed with the SEC a quarterly report
10
     on Form 10-Q for the quarter ended June 30, 2021 (the “2Q 2021 Form 10-Q”), which
11
     was signed by Defendants Adcock and Sachs. The 2Q 2021 Form 10-Q detailed various
12
     risks that "could" significantly affect ImmunityBio's business, financial condition,
13
     operating results, or prospects if they materialized, including the following:
14
15         The manufacture of our product candidates is complex, and we may encounter
           difficulties in production, particularly with respect to process development,
16         quality control, or scaling-up of our manufacturing capabilities. If we or our
17         related parties, or any of our third party manufacturers encounter such
           difficulties, our ability to provide supply of our product candidates for clinical
18
           trials or our products for patients, if approved, could be delayed or stopped, or
19         we may be unable to maintain a commercially viable cost structure.
20         …
           Currently we manufacture our product candidates or use CMOs.
21         …
22         In addition, the manufacturing process and facilities for any products that we may
           develop are subject to FDA and foreign regulatory authority approval processes,
23         and we or our CMOs will need to meet all applicable FDA and foreign regulatory
24         authority requirements, including cGMP, on an ongoing basis. The cGMP
           requirements include quality control, quality assurance and the maintenance of
25
           records and documentation. The FDA and other regulatory authorities enforce
26         these requirements through facility inspections. Manufacturing facilities must
           submit to pre-approval inspections by the FDA that will be conducted after we
27
           submit our marketing applications, including our BLAs and NDAs, to the FDA.
28         Manufacturers are also subject to continuing FDA and other regulatory authority

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 1         inspections following marketing approval. Further, we and our third-party CMOs
           must supply all necessary chemistry, manufacturing and quality control
 2         documentation in support of a BLA or NDA on a timely basis. Our or our CMOs’
 3         manufacturing facilities may be unable to comply with our specifications,
           cGMP, and with other FDA, state, and foreign regulatory requirements, and
 4
           there is no guarantee that we or our CMOs will be able to successfully pass all
 5         aspects of a pre-approval inspection by the FDA or other foreign regulatory
 6         authorities.
           …
 7         Poor control of production processes can lead to the introduction of adventitious
 8         agents or other contaminants, or to inadvertent changes in the properties or
           stability of product candidates that may not be detectable in final product testing.
 9         If microbial, viral, environmental or other contaminations are discovered in our
10         product candidates or in the manufacturing facilities in which our product
           candidates are made, such manufacturing facilities may need to be closed for an
11         extended period of time to investigate and remedy the contamination which could
12         delay clinical trials and adversely harm our business. If we or our CMOs are
           unable to reliably produce products to specifications acceptable to the FDA or
13
           other regulatory authorities, or in accordance with the strict regulatory
14         requirements, we may not obtain or maintain the approvals we need to
15         commercialize such products.

16          106. The statements highlighted in bold and italicized text in the preceding
17   paragraphs were materially false and misleading at the time they were made, or omitted
18   critical facts necessary to make them not misleading. As described in greater detail
19   above, ImmunityBio failed to disclose that: (i) it relied on a CMO to manufacture
20   Anktiva at a facility plagued by serious and recurring cGMP deficiencies; (ii) these
21   cGMP issues were not corrected and were allowed to persist; and (iii) the risks
22   associated with non-compliance with cGMP at the CMO, particularly for the active
23   ingredient in ImmunityBio's "lead" product candidate, were not just theoretical.
24          107. On September 1, 2021, ImmunityBio issued a press release announcing the

25   oral presentation of new clinical trial results from the Phase 3 trial of Anktiva in patients

26   with BCG-unresponsive bladder cancer at the American Urological Association's

27   Annual Meeting. The press release included the following information:

28

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 1         ImmunityBio is a leading producer of cryopreserved and clinical dose forms of
           off-the-shelf natural killer (NK) cell therapies. The company has established
 2         GMP manufacturing capacity at scale with cutting-edge cell manufacturing
 3         expertise and ready-to-scale facilities, as well as extensive and seasoned R&D,
           clinical trial, and regulatory operations and development teams.
 4
 5         108. On September 13, 2021, ImmunityBio issued a press release announcing
 6   the results of the Phase 3 trial of Anktiva in patients with BCG-unresponsive bladder

 7   cancer to the current report on Form 8-K, dated September 13, 2021 signed by

 8   Defendant Sachs, which represented as follows:

 9         ImmunityBio is a leading producer of cryopreserved and clinical dose forms of
           off-the-shelf natural killer (NK) cell therapies. The company has established
10         GMP manufacturing capacity at scale with cutting-edge cell manufacturing
11         expertise and ready-to-scale facilities, as well as extensive and seasoned R&D,
           clinical trial, and regulatory operations and development teams.
12
13         109. The statements highlighted in bold and italicized text in the preceding

14   paragraphs were materially false and misleading at the time they were made, or omitted
     critical facts necessary to make them not misleading. As described in greater detail
15
     above, ImmunityBio failed to disclose that: (i) it relied on a CMO to manufacture
16
     Anktiva at a facility plagued by serious and recurring cGMP deficiencies; and (ii) these
17
     cGMP issues were not corrected and were allowed to persist.
18
           110. On October 19, 2021, ImmunityBio issued a press release to announce the
19
     results of the Phase 3 study of Anktiva in patients with the papillary form of bladder
20
     cancer, which represented as follows:
21
           The company’s platforms are based on the foundation of four separate modalities:
22         Antibody cytokine fusion proteins, synthetic immunomodulators, second-
23         generation human adenovirus (hAd5) and yeast vaccine technologies, and state-
           of-the-art, off-the-shelf natural killer cells, including autologous and allogenic
24
           cytokine-enhanced memory NK cells. ImmunityBio is currently developing a
25         dual construct COVID-19 vaccine candidate using its hAd5 platform. The
26         company has established GMP manufacturing capacity at scale with cutting-
           edge cell manufacturing expertise and ready-to-scale facilities, as well as
27         extensive and seasoned R&D, clinical trial, and regulatory operations and
28         development teams.


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 1         111. The statement highlighted in bold and italicized text in the preceding
 2   paragraph were materially false and misleading at the time they were made, or omitted
 3   critical facts necessary to make them not misleading. As described in greater detail
 4   above, ImmunityBio failed to disclose that: (i) it relied on a CMO to manufacture
 5   Anktiva at a facility plagued by serious and recurring cGMP deficiencies; and (ii)
 6   these cGMP issues were not corrected and were allowed to persist.
 7         112. On November 12, 2021, ImmunityBio filed with the SEC a quarterly report
 8   on Form 10-Q for the quarter ended September 30, 2021 (the “3Q 2021 Form 10-Q),
 9   which was signed by Defendants Adcock and Sachs. The 2Q 2021 Form 10-Q detailed
10   various risks that "could" significantly affect ImmunityBio's business, financial
11   condition, operating results, or prospects if they materialized, including the following:
12         The manufacture of our product candidates is complex, and we may encounter
13         difficulties in production, particularly with respect to process development,
           quality control, or scaling-up of our manufacturing capabilities. If we or our
14         related parties, or any of our third party manufacturers encounter such
15         difficulties, our ability to provide supply of our product candidates for clinical
           trials or our products for patients, if approved, could be delayed or stopped, or
16
           we may be unable to maintain a commercially viable cost structure.
17         …
18         Currently we manufacture our product candidates or we may use third-party
19         CMOs or some of our related parties to manufacture our product candidates.
20         …
21         In addition, the manufacturing process and facilities for any products that we may
           develop are subject to FDA and foreign regulatory authority approval processes,
22         and we or our CMOs will need to meet all applicable FDA and foreign regulatory
23         authority requirements, including cGMP, on an ongoing basis. The cGMP
           requirements include quality control, quality assurance and the maintenance of
24
           records and documentation. The FDA and other regulatory authorities enforce
25         these requirements through facility inspections. Manufacturing facilities must
26         submit to pre-approval inspections by the FDA that will be conducted after we
           submit our marketing applications, including our BLAs and NDAs, to the FDA.
27         Manufacturers are also subject to continuing FDA and other regulatory authority
28         inspections following marketing approval. Further, we and our third-party CMOs


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 1         must supply all necessary chemistry, manufacturing and quality control
           documentation in support of a BLA or NDA on a timely basis. Our or our CMOs’
 2         manufacturing facilities may be unable to comply with our specifications,
 3         cGMP, and with other FDA, state, and foreign regulatory requirements, and
           there is no guarantee that we or our CMOs will be able to successfully pass all
 4
           aspects of a pre-approval inspection by the FDA or other foreign regulatory
 5         authorities.
 6
           Poor control of production processes can lead to the introduction of adventitious
 7         agents or other contaminants, or to inadvertent changes in the properties or
 8         stability of product candidates that may not be detectable in final product testing.
           If microbial, viral, environmental or other contaminations are discovered in our
 9         product candidates or in the manufacturing facilities in which our product
10         candidates are made, such manufacturing facilities may need to be closed for an
           extended period of time to investigate and remedy the contamination which could
11         delay clinical trials and adversely harm our business. If we or our CMOs are
12         unable to reliably produce products to specifications acceptable to the FDA or
           other regulatory authorities, or in accordance with the strict regulatory
13
           requirements, we may not obtain or maintain the approvals we need to
14         commercialize such products.
15         113. The statements highlighted in bold and italicized text in the preceding
16   paragraphs were materially false and misleading at the time they were made, or omitted
17   critical facts necessary to make them not misleading. As described in greater detail
18   above, ImmunityBio failed to disclose that: (i) it relied on a CMO to manufacture
19   Anktiva at a facility plagued by serious and recurring cGMP deficiencies; (ii) these
20   cGMP issues were not corrected and were allowed to persist; and (iii) the risks
21   associated with non-compliance with cGMP at the CMO, particularly for the active
22   ingredient in ImmunityBio's "lead" product candidate, were not just theoretical.
23         114. On December 20, 2021, ImmunityBio issued a press release detailing
24   recent financing activities and ongoing business initiatives, including the planned BLA
25   submission for Anktiva. This press release was filed with the SEC as part of the current
26   report on Form 8-K, dated December 20, 2021, and signed by Defendant Sachs. The
27   report included the following statement:
28

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 1         The company’s platforms are based on the foundation of four separate modalities:
           Antibody cytokine fusion proteins, synthetic immunomodulators, second-
 2         generation human adenovirus (hAd5) and yeast vaccine technologies, and state-
 3         of-the-art, off-the-shelf natural killer cells, including autologous and allogenic
           cytokine-enhanced memory NK cells. ImmunityBio is currently developing a
 4
           dual construct COVID-19 vaccine candidate using its hAd5 platform. The
 5         company has established GMP manufacturing capacity at scale with cutting-
 6         edge cell manufacturing expertise and ready-to-scale facilities, as well as
           extensive and seasoned R&D, clinical trial, and regulatory operations and
 7         development teams.
 8         115. The statements highlighted in bold and italicized text in the preceding
 9   paragraphs were materially false and misleading at the time they were made, or omitted
10   critical facts necessary to make them not misleading. As described in greater detail
11   above, ImmunityBio failed to disclose that: (i) it relied on a CMO to manufacture
12   Anktiva at a facility plagued by serious and recurring cGMP deficiencies; (ii) these
13   cGMP issues were not corrected and were allowed to persist.
14         116. On March 1, 2022, ImmunityBio filed a post-effective amendment to the
15   Shelf Registration Statement (as amended, the “Shelf Registration Statement
16   Amendment No. 1”), which was signed by the Individual Defendants. The Shelf
17   Registration Statement Amendment No. 1 expressly incorporated by reference the
18   March 10, 2021 Form 8-K, including the materially false and misleading statements.
19         117. On March 1, 2022, ImmunityBio filed an annual report with the SEC on
20   Form 10-K for the year ended December 31, 2021 (the “2021 Form 10-K”), which was
21   signed by the Individual Defendants. The 2021 Form 10-K emphasized that the
22   Company maintained cGMP manufacturing resources, stating in relevant part:
23         We have established Good Manufacturing Practice (GMP) manufacturing
24         capacity at scale with cutting-edge cell manufacturing expertise and ready-to-
           scale facilities, as well as extensive and seasoned research and development
25         (R&D), clinical trial, and regulatory operations and development teams.
26
           118. The 2021 Form 10-K also assured investors that ImmunityBio develops its
27   products in compliance with cGMP:
28

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 1         ImmunityBio has adopted a strategic position to be vertically integrated and
           develop its products according to the FDA’s GMP standards for large-scale
 2         manufacturing, even during Phase 2 clinical trial development. Biological
 3         upstream and downstream manufacturing capabilities, with its attendant know-
           how and regulatory compliance for approval, have long lead times. We have
 4
           adopted an approach for preparedness to provide our vaccine, immunotherapy
 5         and cell therapy products at a global scale. As such, we have established our own
 6         plants and have access to facilities on a global basis.

 7         119. Additionally, in the 2021 Form 10-K, the Company proudly emphasized
 8   that the third-party it used to manufacture Anktiva, specifically, had robust
 9   manufacturing standards:
10         For our Anktiva product candidate, we have contracted with a multi-national
           biologics manufacturer with multiple cGMP-compliant facilities in the U.S.,
11         Europe and Asia for our current clinical trials and future commercial sales, if
12         approved. The facilities have robust process development and validation and
           quality oversight with high-capacity production suites operating multiple 2,000-
13
           20,000L production bioreactors.
14         120. The 2021 Form 10-K also detailed various risks that "could" significantly
15   affect ImmunityBio's business, financial condition, operating results, or prospects if
16   they were to occur, including the following:
17         The manufacture of our product candidates is complex, and we may encounter
           difficulties in production, particularly with respect to process development,
18
           quality control, or scaling-up of our manufacturing capabilities. If we or our
19         related parties, or any of our third party manufacturers encounter such
20         difficulties, our ability to provide supply of our product candidates for clinical
           trials or our products for patients, if approved, could be delayed or stopped, or
21         we may be unable to maintain a commercially viable cost structure.
22         …
           Currently we manufacture our product candidates or we may use third-party
23         CMOs or some of our related parties to manufacture our product candidates.
24         …
           In addition, the manufacturing process and facilities for any products that we may
25
           develop are subject to FDA and foreign regulatory authority approval processes,
26         and we or our CMOs will need to meet all applicable FDA and foreign regulatory
27         authority requirements, including cGMP, on an ongoing basis. The cGMP
           requirements include quality control, quality assurance and the maintenance of
28         records and documentation. The FDA and other regulatory authorities enforce

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 1         these requirements through facility inspections. Manufacturing facilities must
           submit to pre-approval inspections by the FDA that will be conducted after we
 2         submit our marketing applications, including our BLAs and NDAs, to the FDA.
 3         Manufacturers are also subject to continuing FDA and other regulatory authority
           inspections following marketing approval. Further, we and our third-party CMOs
 4
           must supply all necessary chemistry, manufacturing and quality control
 5         documentation in support of a BLA or NDA on a timely basis. Our or our CMOs’
 6         manufacturing facilities may be unable to comply with our specifications,
           cGMP, and with other FDA, state, and foreign regulatory requirements, and
 7         there is no guarantee that we or our CMOs will be able to successfully pass all
 8         aspects of a pre-approval inspection by the FDA or other foreign regulatory
           authorities.
 9
10         Poor control of production processes can lead to the introduction of adventitious
           agents or other contaminants, or to inadvertent changes in the properties or
11         stability of product candidates that may not be detectable in final product testing.
12         If microbial, viral, environmental or other contaminations are discovered in our
           product candidates or in the manufacturing facilities in which our product
13
           candidates are made, such manufacturing facilities may need to be closed for an
14         extended period of time to investigate and remedy the contamination which could
15         delay clinical trials and adversely harm our business. If we or our CMOs are
           unable to reliably produce products to specifications acceptable to the FDA or
16         other regulatory authorities, or in accordance with the strict regulatory
17         requirements, we may not obtain or maintain the approvals we need to
           commercialize such products.
18
19         121. The statements highlighted in bold and italicized text in the preceding
     paragraphs were materially false and misleading at the time they were made, or omitted
20
     critical facts necessary to make them not misleading. As described in greater detail
21
     above, ImmunityBio failed to disclose that: (i) it relied on a CMO to manufacture
22
     Anktiva at a facility plagued by serious and recurring cGMP deficiencies; (ii) these
23
     cGMP issues were not corrected and were allowed to persist; and (iii) the risks
24
     associated with non-compliance with cGMP at the CMO, particularly for the active
25
     ingredient in ImmunityBio's "lead" product candidate, were not just hypothetical.
26
           122. On May 10, 2022, ImmunityBio filed with the SEC a quarterly report on
27
     Form 10-Q for the quarter ended March 31, 2022 (the “1Q 2022 Form 10-Q”), which
28

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 1   was signed by Defendants Acock and Sachs. The 1Q 2022 Form 10-Q emphasized that
 2   the Company maintained cGMP manufacturing resources stating in relevant part:
 3         We have established Good Manufacturing Practice (GMP) manufacturing
 4         capacity at scale with cutting-edge cell manufacturing expertise and ready-to-
           scale facilities, as well as extensive and seasoned research and development
 5         (R&D), clinical trial, and regulatory operations and development teams.
 6
           123. Additionally, the 1Q 2022 Form 10-Q outlined certain risks which "could"
 7
     significantly affect ImmunityBio's business, financial condition, operating results, or
 8   prospects if they materialized, including the following:
 9
           The manufacture of our product candidates is complex, and we may encounter
10         difficulties in production, particularly with respect to process development,
11         quality control, or scaling-up of our manufacturing capabilities. If we or our
           related parties, or any of our third party manufacturers encounter such
12         difficulties, our ability to provide supply of our product candidates for clinical
13         trials or our products for patients, if approved, could be delayed or stopped, or
           we may be unable to maintain a commercially viable cost structure.
14         …
15         Currently we manufacture our product candidates or we may use third-party
           CMOs or some of our related parties to manufacture our product candidates.
16         …
17         In addition, the manufacturing process and facilities for any products that we may
           develop are subject to FDA and foreign regulatory authority approval processes,
18
           and we or our CMOs will need to meet all applicable FDA and foreign regulatory
19         authority requirements, including cGMP, on an ongoing basis. The cGMP
20         requirements include quality control, quality assurance and the maintenance of
           records and documentation. The FDA and other regulatory authorities enforce
21         these requirements through facility inspections. Manufacturing facilities must
22         submit to pre-approval inspections by the FDA that will be conducted after we
           submit our marketing applications, including our BLAs and NDAs, to the FDA.
23         Manufacturers are also subject to continuing FDA and other regulatory authority
24         inspections following marketing approval. Further, we and our third-party CMOs
           must supply all necessary chemistry, manufacturing and quality control
25
           documentation in support of a BLA or NDA on a timely basis. Our or our CMOs’
26         manufacturing facilities may be unable to comply with our specifications,
           cGMP, and with other FDA, state, and foreign regulatory requirements, and
27
           there is no guarantee that we or our CMOs will be able to successfully pass all
28

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 1         aspects of a pre-approval inspection by the FDA or other foreign regulatory
           authorities.
 2
 3         Poor control of production processes can lead to the introduction of adventitious
           agents or other contaminants, or to inadvertent changes in the properties or
 4
           stability of product candidates that may not be detectable in final product testing.
 5         If microbial, viral, environmental or other contaminations are discovered in our
 6         product candidates or in the manufacturing facilities in which our product
           candidates are made, such manufacturing facilities may need to be closed for an
 7         extended period of time to investigate and remedy the contamination which could
 8         delay clinical trials and adversely harm our business. If we or our CMOs are
           unable to reliably produce products to specifications acceptable to the FDA or
 9         other regulatory authorities, or in accordance with the strict regulatory
10         requirements, we may not obtain or maintain the approvals we need to
           commercialize such products.
11
12         124. The statements highlighted in bold and italicized text in the preceding

13   paragraphs were materially false and misleading at the time they were made, or omitted

14   critical facts necessary to make them not misleading. As described in greater detail

15   above, ImmunityBio failed to disclose that: (i) it relied on a CMO to manufacture
     Anktiva at a facility plagued by serious and recurring cGMP deficiencies; (ii) these
16
     cGMP issues were not corrected and were allowed to persist; and (iii) the risks
17
     associated with non-compliance with cGMP at the CMO, particularly for the active
18
     ingredient in ImmunityBio's "lead" product candidate, were not just hypothetical.
19
           125. On May 23, 2022, ImmunityBio issued a press release announcing the
20
     submission of the Anktiva BLA to the FDA, which stated the following:
21
           The company has established GMP manufacturing capacity at scale with
22
           cutting-edge cell manufacturing expertise and ready-to-scale facilities, as well as
23         extensive and seasoned R&D, clinical trial, and regulatory operations, and
24         development teams.

25         126. The statements highlighted in bold and italicized text in the preceding
26   paragraph were materially false and misleading at the time they were made, or omitted
27   critical facts necessary to make them not misleading. As described in greater detail
28   above, ImmunityBio failed to disclose that: (i) it relied on a CMO to manufacture


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 1   Anktiva at a facility plagued by serious and recurring cGMP deficiencies; and (ii) these
 2   cGMP issues were not corrected and were allowed to persist.
 3         127. On June 6, 2022, ImmunityBio issued a press release announcing new data
 4   from the Phase 3 trial of Anktiva in BCG-unresponsive patients with the CIS form of
 5   NMIBC. In this release, Defendant Soon-Shiong stated that the company had developed
 6   cGMP manufacturing capacity:
 7         “We have, at risk, made the investments to build GMP commercial-scale
           manufacturing for our platforms and are now positioned to launch QUILT trials
 8
           in earlier first-line, neoadjuvant and even preventative settings.”
 9
           128. The same press release also stated:
10
11         The company has established GMP manufacturing capacity at scale with
           cutting-edge cell manufacturing expertise and ready-to-scale facilities, as well as
12         extensive and seasoned R&D, clinical trial, and regulatory operations, and
13         development teams.
14         129. The statements highlighted in bold and italicized text in the preceding
15   paragraphs were materially false and misleading at the time they were made, or omitted
16   critical facts necessary to make them not misleading. As described in greater detail
17   above, ImmunityBio failed to disclose that: (i) it relied on a CMO to manufacture
18   Anktiva at a facility plagued by serious and recurring cGMP deficiencies; (ii) these
19   cGMP issues were not corrected and were allowed to persist.
20         130. On July 28, 2022, ImmunityBio issued a press release announcing that the
21   FDA had accepted the Anktiva BLA for review. In this release, Defendant Adcock
22   represented that the company was ready to move forward quickly with commercial
23   manufacturing:
24         “We are pleased the FDA has begun its review, and ImmunityBio is prepared to
25         move rapidly to manufacturing and marketing should the Agency approve our
           therapeutic for this indication,” said Richard Adcock, President and CEO of
26         ImmunityBio.
27
           131. The same press release represented as follows:
28

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 1         The company has established GMP manufacturing capacity at scale with
           cutting-edge cell manufacturing expertise and ready-to-scale facilities, as well as
 2         extensive and seasoned R&D, clinical trial, and regulatory operations, and
 3         development teams.
 4         132. The statements highlighted in bold and italicized text in the preceding
 5   paragraphs were materially false and misleading at the time they were made, or omitted
 6   critical facts necessary to make them not misleading. As described in greater detail
 7   above, ImmunityBio failed to disclose that: (i) it relied on a CMO to manufacture
 8   Anktiva at a facility plagued by serious and recurring cGMP deficiencies; and (ii) these
 9   cGMP issues were not corrected and were allowed to persist.
10         133. On August 8, 2022, ImmunityBio filed with the SEC a quarterly report on
11   Form 10-Q for the quarter ended June 30, 2022 (the “2Q 2022 Form 10-Q”), which was
12   signed by Defendants Adcock and Sachs. The 2Q 2022 Form 10-Q emphasized that the
13   Company maintained cGMP manufacturing resources stating in relevant part:
14         We have established Good Manufacturing Practice (GMP) manufacturing
           capacity at scale with cutting-edge cell manufacturing expertise and ready-to-
15
           scale facilities, as well as extensive and seasoned research and development
16         (R&D), clinical trial, and regulatory operations and development teams.
17         134. Additionally, the 2Q 2022 Form 10-Q outlined certain risks which "could"
18   significantly affect ImmunityBio's business, financial condition, operating results, or
19   prospects if they materialized, including the following:
20         The manufacture of our product candidates is complex, and we may encounter
21         difficulties in production, particularly with respect to process development,
           quality control, or scaling-up of our manufacturing capabilities. If we or our
22         related parties, or any of our third party manufacturers encounter such
23         difficulties, our ability to provide supply of our product candidates for clinical
           trials or our products for patients, if approved, could be delayed or stopped, or
24
           we may be unable to maintain a commercially viable cost structure.
25         …
26         Currently we manufacture our product candidates or we may use third-party
           CMOs or some of our related parties to manufacture our product candidates.
27         …
28

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 1         In addition, the manufacturing process and facilities for any products that we may
           develop are subject to FDA and foreign regulatory authority approval processes,
 2         and we or our CMOs will need to meet all applicable FDA and foreign regulatory
 3         authority requirements, including cGMP, on an ongoing basis. The cGMP
           requirements include quality control, quality assurance and the maintenance of
 4
           records and documentation. The FDA and other regulatory authorities enforce
 5         these requirements through facility inspections. Manufacturing facilities must
 6         submit to pre-approval inspections by the FDA that will be conducted after we
           submit our marketing applications, including our BLAs and NDAs, to the FDA.
 7         Manufacturers are also subject to continuing FDA and other regulatory authority
 8         inspections following marketing approval. Further, we and our third-party CMOs
           must supply all necessary chemistry, manufacturing and quality control
 9         documentation in support of a BLA or NDA on a timely basis. Our or our CMOs’
10         manufacturing facilities may be unable to comply with our specifications,
           cGMP, and with other FDA, state, and foreign regulatory requirements, and
11         there is no guarantee that we or our CMOs will be able to successfully pass all
12         aspects of a pre-approval inspection by the FDA or other foreign regulatory
           authorities.
13
14         Poor control of production processes can lead to the introduction of adventitious
15         agents or other contaminants, or to inadvertent changes in the properties or
           stability of product candidates that may not be detectable in final product testing.
16         If microbial, viral, environmental or other contaminations are discovered in our
17         product candidates or in the manufacturing facilities in which our product
           candidates are made, such manufacturing facilities may need to be closed for an
18         extended period of time to investigate and remedy the contamination which could
19         delay clinical trials and adversely harm our business. If we or our CMOs are
           unable to reliably produce products to specifications acceptable to the FDA or
20
           other regulatory authorities, or in accordance with the strict regulatory
21         requirements, we may not obtain or maintain the approvals we need to
22         commercialize such products.

23
           135. The statements highlighted in bold and italicized text in the preceding
24   paragraphs were materially false and misleading at the time they were made, or omitted
25   critical facts necessary to make them not misleading. As described in greater detail
26   above, ImmunityBio failed to disclose that: (i) it relied on a CMO to manufacture
27   Anktiva at a facility plagued by serious and recurring cGMP deficiencies; (ii) these
28

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 1   cGMP issues were not corrected and were allowed to persist; and (iii) the risks
 2   associated with non-compliance with cGMP at the CMO, particularly for the active
 3   ingredient in ImmunityBio's "lead" product candidate, were not just hypothetical.
 4         136. On November 9, 2022, ImmunityBio filed with the SEC a quarterly report
 5   on Form 10-Q for the quarter ended September 30, 2022 (the “3Q 2022 Form 10-Q”),
 6   which was signed by Defendants Adcock and Sachs. The 3Q 2022 Form 10-Q
 7   emphasized that the Company maintained cGMP manufacturing resources stating in
 8   relevant part:
 9         We have established Good Manufacturing Practice (GMP) manufacturing
           capacity at scale with cutting-edge cell manufacturing expertise and ready-to-
10
           scale facilities, as well as extensive and seasoned research and development
11         (R&D), clinical trial, and regulatory operations and development teams.
12         137. Additionally, the 3Q 2022 Form 10-Q outlined certain risks which "could"
13   significantly affect ImmunityBio's business, financial condition, operating results, or
14   prospects if they materialized, including the following:
15         The manufacture of our product candidates is complex, and we may encounter
16         difficulties in production, particularly with respect to process development,
           quality control, or scaling-up of our manufacturing capabilities. If we or our
17         related parties, or any of our third party manufacturers encounter such
18         difficulties, our ability to provide supply of our product candidates for clinical
           trials or our products for patients, if approved, could be delayed or stopped, or
19
           we may be unable to maintain a commercially viable cost structure.
20         …
21         Currently we manufacture our product candidates or we may use third-party
           CMOs or some of our related parties to manufacture our product candidates.
22         …
23         In addition, the manufacturing process and facilities for any products that we may
           develop are subject to FDA and foreign regulatory authority approval processes,
24         and we or our CMOs will need to meet all applicable FDA and foreign regulatory
25         authority requirements, including cGMP, on an ongoing basis. The cGMP
           requirements include quality control, quality assurance and the maintenance of
26
           records and documentation. The FDA and other regulatory authorities enforce
27         these requirements through facility inspections. Manufacturing facilities must
28         submit to pre-approval inspections by the FDA that will be conducted after we


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 1         submit our marketing applications, including our BLAs and NDAs, to the FDA.
           Manufacturers are also subject to continuing FDA and other regulatory authority
 2         inspections following marketing approval. Further, we and our third-party CMOs
 3         must supply all necessary chemistry, manufacturing and quality control
           documentation in support of a BLA or NDA on a timely basis. Our or our CMOs’
 4
           manufacturing facilities may be unable to comply with our specifications,
 5         cGMP, and with other FDA, state, and foreign regulatory requirements, and
 6         there is no guarantee that we or our CMOs will be able to successfully pass all
           aspects of a pre-approval inspection by the FDA or other foreign regulatory
 7         authorities.
 8
           Poor control of production processes can lead to the introduction of adventitious
 9         agents or other contaminants, or to inadvertent changes in the properties or
10         stability of product candidates that may not be detectable in final product testing.
           If microbial, viral, environmental or other contaminations are discovered in our
11         product candidates or in the manufacturing facilities in which our product
12         candidates are made, such manufacturing facilities may need to be closed for an
           extended period of time to investigate and remedy the contamination which could
13
           delay clinical trials and adversely harm our business. If we or our CMOs are
14         unable to reliably produce products to specifications acceptable to the FDA or
15         other regulatory authorities, or in accordance with the strict regulatory
           requirements, we may not obtain or maintain the approvals we need to
16         commercialize such products.
17
           138. The statements highlighted in bold and italicized text in the preceding
18
     paragraphs were materially false and misleading at the time they were made, or omitted
19
     critical facts necessary to make them not misleading. As described in greater detail
20
     above, ImmunityBio failed to disclose that: (i) it relied on a CMO to manufacture
21
     Anktiva at a facility plagued by serious and recurring cGMP deficiencies; (ii) these
22
     cGMP issues were not corrected and were allowed to persist; and (iii) the risks
23
     associated with non-compliance with cGMP at the CMO, particularly for the active
24
     ingredient in ImmunityBio's "lead" product candidate, were not just hypothetical.
25
           139. On November 10, 2022, ImmunityBio issued a press release announcing
26
     the publication of the full results of the Phase 3 trial of Anktiva with BCG in BCG-
27
     unresponsive patients with the CIS form of NMIBC, which represented as follows:
28

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 1         The company has established GMP manufacturing capacity at scale with
           cutting-edge cell manufacturing expertise and ready-to-scale facilities, as well as
 2         extensive and seasoned R&D, clinical trial, and regulatory operations, and
 3         development teams.
 4         140. The statement highlighted in bold and italicized text in the preceding
 5   paragraph were materially false and misleading at the time they were made, or omitted
 6   critical facts necessary to make them not misleading. As described in greater detail
 7   above, ImmunityBio failed to disclose that: (i) it relied on a CMO to manufacture
 8   Anktiva at a facility plagued by serious and recurring cGMP deficiencies; (ii) these
 9   cGMP issues were not corrected and were allowed to persist.
10         141. On February 7, 2023, ImmunityBio filed an automatic shelf registration
11   statement on Form S-3 with the SEC to register an unspecified number of debt and
12   equity securities not to exceed a total aggregate price of $750 million for future
13   issuance(on the “shelf”), which included a related prospectus (“February 2023 Shelf
14   Registration Statement”). The February 2023 Shelf Registration Statement was signed
15   by the Individual Defendants. The SEC declared the statement effective on February 9,
16   2023. On February 16, 2023, ImmunityBio filed a final prospectus supplement to the
17   February 2023 Shelf Registration Statement with the SEC to facilitate a registered direct
18   offering of approximately $50 million in ImmunityBio common stock and warrants to
19   purchase up to $60 million in additional common stock. The February 2023 Shelf
20   Registration Statement, as supplemented by the February 2023 Prospectus Supplement,
21   acknowledged that it was "unclear" when, or if, the FDA would approve the pending
22   Anktiva BLA:
23         In May 2022, we announced the submission of a Biologics License Application
           (BLA) to the FDA for our product candidate, Anktiva in combination with BCG
24         for the treatment of patients with BCG-unresponsive NMIBC with CIS with or
25         without Ta or T1 disease. In July 2022, we announced the FDA has accepted our
           BLA for review and set a target Prescription Drug User Fee Act (PDUFA) action
26         date of May 23, 2023. It is unlcear when the FDA will approve our BLA, if at
27         all.
28

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 1         142. The February 2023 Shelf Registration Statement also represented as
 2   follows:
 3         We have established Good Manufacturing Practice (GMP) manufacturing
 4         capacity at scale with cutting-edge cell manufacturing expertise and ready-to-
           scale facilities, as well as extensive and seasoned research and development
 5         (R&D), clinical trial, and regulatory operations and development teams.
 6
           143. Furthermore, the February 2023 Shelf Registration Statement expressly
 7
     incorporated by reference the 2021 Form 10-K, the 1Q 2022 Form 10-Q, the 2Q 2022
 8   Form 10-Q, and the 3Q 2022 Form 10-Q.
 9         144. The statements highlighted in bold and italicized text in the preceding
10   paragraphs were materially false and misleading at the time they were made, or omitted
11   critical facts necessary to make them not misleading. As described in greater detail
12   above, ImmunityBio failed to disclose that: (i) it relied on a CMO to manufacture
13   Anktiva at a facility plagued by serious and recurring cGMP deficiencies; (ii) these
14   cGMP issues were not corrected and were allowed to persist; (iii) the FDA identified a
15   range of significant cGMP violations at the facility during the pre-license inspection for
16   Anktiva, which indicated that the firm's quality unit was not effectively fulfilling its
17   authority and responsibilities; and, accordingly, (iv) the risks arising from non-
18   compliance with cGMP at a CMO responsible for manufacturing a product for
19   ImmunityBio, particularly the active ingredient in its "lead" product candidate under
20   FDA review, were not merely hypothetical; and (v) far from being "uncertain" whether
21   the FDA would approve the Anktiva BLA, such approval was no longer a viable
22   outcome.
23         145. On March 1, 2023, ImmunityBio filed an annual report with the SEC on
24   Form 10-K for the year ended December 31, 2022 (the “2022 Form 10-K”), which was
25   signed by the Individual Defendants. The 2022 Form 10-K emphasized that the
26   Company maintained cGMP manufacturing resources stating in relevant part:
27         We have established Good Manufacturing Practice (GMP) manufacturing
           capacity at scale with cutting-edge cell manufacturing expertise and ready-to-
28

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 1         scale facilities, as well as extensive and seasoned research and development
           (R&D), clinical trial, and regulatory operations and development teams.
 2
 3         146. The 2022 Form 10-K also assured investors that ImmunityBio develops its

 4   products in accordance with cGMP:

 5         ImmunityBio has adopted a strategic position to be vertically integrated and
           develop its products according to the FDA’s GMP standards for large-scaling
 6         manufacturing, even during Phase 2 clinical trial development. Biological
 7         upstream and downstream manufacturing capabilities, with its attendant know-
           how and regulatory compliance for approval, have long lead times. We have
 8         adopted an approach for preparedness to provide our vaccine, immunotherapy
 9         and cell therapy products at a global scale. As such, we have established our own
           plants and have access to facilities on a global basis.
10
11         147. In the 2022 Form 10-K, the Company proudly emphasized that the third-
12   party it used to manufacture Anktiva, specifically, had robust manufacturing standards:
13         For our N-803 product candidate, we have contracted with a multi-national
14         biologics manufacturer with multiple cGMP-compliant facilities in the U.S.,
           Europe and Asia for our current clinical trials and future commercial sales, if
15         approved. The facilities have robust process development and validation and
16         quality oversight with high-capacity production suites operating multiple 2,000-
           20,000L production bioreactors.
17
18
           148. Additionally, the 3Q 2022 Form 10-Q outlined certain risks which "could"
19
     significantly affect ImmunityBio's business, financial condition, operating results, or
20
     prospects if they materialized, including the following:
21
           The manufacture of our product candidates is complex, and we may encounter
22         difficulties in production, particularly with respect to process development,
23         quality control, or scaling-up of our manufacturing capabilities. If we or our
           related parties, or any of our third party manufacturers encounter such
24         difficulties, our ability to provide supply of our product candidates for clinical
25         trials or our products for patients, if approved, could be delayed or stopped, or
           we may be unable to maintain a commercially viable cost structure.
26         …
27         Currently we manufacture our product candidates or we may use third-party
           CMOs or some of our related parties to manufacture our product candidates.
28

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 1        …
          In addition, the manufacturing process and facilities for any products that we may
 2        develop are subject to FDA and foreign regulatory authority approval processes,
 3        and we or our CMOs will need to meet all applicable FDA and foreign regulatory
          authority requirements, including cGMP, on an ongoing basis. The cGMP
 4
          requirements include quality control, quality assurance and the maintenance of
 5        records and documentation. The FDA and other regulatory authorities enforce
 6        these requirements through facility inspections. Manufacturing facilities must
          submit to pre-approval inspections by the FDA that will be conducted after we
 7        submit our marketing applications, including our BLAs and NDAs, to the FDA.
 8        Manufacturers are also subject to continuing FDA and other regulatory authority
          inspections following marketing approval. Further, we and our third-party CMOs
 9        must supply all necessary chemistry, manufacturing and quality control
10        documentation in support of a BLA or NDA on a timely basis. Our or our CMOs’
          manufacturing facilities may be unable to comply with our specifications,
11        cGMP, and with other FDA, state, and foreign regulatory requirements, and
12        there is no guarantee that we or our CMOs will be able to successfully pass all
          aspects of a pre-approval inspection by the FDA or other foreign regulatory
13
          authorities.
14
15        Poor control of production processes can lead to the introduction of adventitious
          agents or other contaminants, or to inadvertent changes in the properties or
16        stability of product candidates that may not be detectable in final product testing.
17        If microbial, viral, environmental or other contaminations are discovered in our
          product candidates or in the manufacturing facilities in which our product
18        candidates are made, such manufacturing facilities may need to be closed for an
19        extended period of time to investigate and remedy the contamination which could
          delay clinical trials and adversely harm our business. If we or our CMOs are
20
          unable to reliably produce products to specifications acceptable to the FDA or
21        other regulatory authorities, or in accordance with the strict regulatory
22        requirements, we may not obtain or maintain the approvals we need to
          commercialize such products.
23
          149. Finally, the 2022 Form 10-K stated that it was "unclear" when, or if, the
24
     FDA would approve the pending Anktiva BLA:
25
          In May 2022, we announced the submission of a Biologics License Application
26        (BLA) to the FDA for our product candidate, Anktiva in combination with BCG
27        for the treatment of patients with BCG-unresponsive NMIBC with CIS with or
          without Ta or T1 disease. In July 2022, we announced the FDA has accepted our
28

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 1         BLA for review and set a target Prescription Drug User Fee Act (PDUFA) action
           date of May 23, 2023. It is unlcear when the FDA will approve our BLA, if at
 2         all.
 3
           150. The statements highlighted in bold and italicized text in the preceding
 4
     paragraphs were materially false and misleading at the time they were made, or omitted
 5
     critical facts necessary to make them not misleading. As described in greater detail
 6
     above, ImmunityBio failed to disclose that: (i) it relied on a CMO to manufacture
 7
     Anktiva at a facility plagued by serious and recurring cGMP deficiencies; (ii) these
 8
     cGMP issues were not corrected and were allowed to persist; (iii) the FDA identified a
 9
     range of significant cGMP violations at the facility during the pre-license inspection for
10   Anktiva, which indicated that the firm's quality unit was not effectively fulfilling its
11   authority and responsibilities; and, accordingly, (iv) the risks arising from non-
12   compliance with cGMP at a CMO responsible for manufacturing a product for
13   ImmunityBio, particularly the active ingredient in its "lead" product candidate under
14   FDA review, were not merely hypothetical; and (v) far from being "uncertain" whether
15   the FDA would approve the Anktiva BLA, such approval was no longer a viable
16   outcome.
17         151. On March 20, 2023, ImmunityBio filed a current report on Form 8-K with
18   the SEC (the "March 20, 2023 Form 8-K") to provide updates on various ongoing
19   business initiatives. The report, signed by Defendant Sachs, stated, among other things,
20   that it was "unclear" when, or if, the FDA would approve the pending Anktiva BLA:
21         As previously disclosed, in May 2022 ImmunityBio, Inc. (the “Company”)
22         announced the submission of a Biologics License Application (“BLA”) to the
           United States Food and Drug Administration (“FDA”) for N-803 in combination
23         with bacillus Calmette-Guerin (“BCG”) for the treatment of patients with BCG-
24         unresponsive NMIBC with carcinoma in situ (“CIS”) with or without Ta or T1
           disease. In July 2022, we announced that the FDA had accepted our BLA for
25
           review and set a target Prescription Drug User Fee Act (“PDUFA”) action date
26         of May 23, 2023. The Company continues to engage in ongoing discussions and
           dialogue with the FDA, including the proposed label for the product candidate
27
           under review in the BLA. It remains unclear if the FDA will approve our BLA
28         on the PDUFA action date, if at all.

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 1         152. The March 20, 2023 Form 8-K also informed investors that the Company
 2   was focused on preparing for the approval of the Anktiva BLA:
 3         As the Company remains focused on preparing for the potential approval of
 4         the BLA by the FDA as described above, it intends to continue to explore
           opportunities to engage in incremental financing transactions to raise the working
 5         capital needed to fund the Company’s ongoing operations through the anticipated
 6         May 23, 2023 PDUFA date and execute the Company’s business strategy and
           initiatives.
 7
 8         153. The statements highlighted in bold and italicized text in the preceding

 9   paragraphs were materially false and misleading at the time they were made, or omitted
     critical facts necessary to make them not misleading. As described in greater detail
10
     above, ImmunityBio failed to disclose that: (i) it relied on a CMO to manufacture
11
     Anktiva at a facility plagued by serious and recurring cGMP deficiencies; (ii) these
12
     cGMP issues were not corrected and were allowed to persist; (iii) the FDA identified a
13
     range of significant cGMP violations at the facility during the pre-license inspection for
14
     Anktiva, which indicated that the firm's quality unit was not effectively fulfilling its
15
     authority and responsibilities; and, accordingly, (iv) far from being "uncertain" whether
16
     the FDA would approve the Anktiva BLA, such approval was no longer a viable
17
     outcome.
18
                                      THE TRUTH EMERGES
19
           154. On May 11, 2023, ImmunityBio filed a current report with the SEC on
20
     Form 8-K during pre-market hours (the "May 11, 2023 Form 8-K"). The report
21
     disclosed that on May 9, 2023, the FDA had issued a Complete Response Letter (CRL)
22
     in connection with the Anktiva BLA, citing deficiencies found during the FDA’s pre-
23
     license inspection of the company’s CMOs. The May 11, 2023 Form 8-K revealed the
24
     following key information:
25
           ImmunityBio, Inc. (the “Company”) announces that it has received a complete
26         response letter from the U.S. Food and Drug Administration (“FDA”) on May 9,
27         2023 regarding its Biologics License Application (“BLA”) for its product
           candidate, Anktiva (N-803) in combination with Bacillus Calmette-Guerin
28

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 1         (“BCG”) for the treatment of patients with BCG-unresponsive non-muscle
           invasive bladder cancer (“NMIBC”) with carcinoma in situ (“CIS”) with or
 2         without Ta or T1 disease. The letter indicates that the FDA has determined that
 3         it cannot approve the BLA in its present form, and the FDA has made
           recommendations to address the issues raised.
 4
 5         The deficiencies relate to the FDA’s pre-license inspection of the Company’s
 6         third-party contract manufacturing organizations. Satisfactory resolution of
           the observations noted at the pre-license inspection is required before the BLA
 7         may be approved. The FDA further provided recommendations specific to
 8         additional Chemistry, Manufacturing and Controls (“CMC”) issues and assays to
           be resolved.
 9
10         148. Following this news, ImmunityBio's common stock dropped by $3.43 per
11   share, or 55.15%, on heavy trading volume, closing at $2.79 on May 11, 2023.
12
13                           THE SECURITIES CLASS ACTION
14         149. On June 30, 2023, a Securities Class Action was filed against the Company
15   and certain Individual Defendants in the United States District Court for the Southern
16   District of California, alleging violations of Sections 10(b) and 20(a) of the Securities
17   Exchange Act of 1934.
18         150. On June 20, 2024, the court in the Securities Class Action denied in part
19   the defendants' motion to dismiss. The court concluded, among other findings, that the
20   Amended Complaint sufficiently alleges that the defendants made statements that “were
21   materially false or misleading."
22         151. Specifically, the court found, among other things, that the plaintiff in the
23   Securities Class Action alleged sufficiently that the individual defendants in that action
24   “materially misrepresented” facts regarding the Company’s “severe and persistent
25   manufacturing deficiencies.”
26
27   SUMMARY OF THE INDIVIDUAL DEFENDANTS WRONGFUL CONDUCT

28         152. The Individual Defendants breached their fiduciary duties because they

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 1   allowed or permitted the Company to disseminate false and misleading statements.
 2   Additionally, the Company’s SEC filings and omissions caused the above-discussed
 3   internal failures caused or allowed the illicit activity described in this Complaint.
 4         153. The Individual Defendants breached their fiduciary duties because they
 5   failed to maintain an adequate system of oversight, disclosure controls, and procedures.
 6         154. The Individual Defendants breached their fiduciary duties to ImmunityBio
 7   because they willfully or recklessly made and/or caused the Company to make false
 8   and/or misleading statements and omissions of material fact regarding, at least, Forms
 9   8-K, Proxy, press releases, soliciting materials described in this complaint. Defendants
10   signed and authorized the SEC filings that were false and misleading because the
11   Defendants falsely stated/or failed to disclose the following on their watch that: (1) the
12   Company relied on a CMO to manufacture Anktiva at a facility plagued by serious and
13   recurring cGMP deficiencies; (2) these cGMP issues were not corrected and were
14   allowed to persist; (3) the FDA identified a range of significant cGMP violations at the
15   facility during the pre-license inspection for Anktiva, which indicated that the firm's
16   quality unit was not effectively fulfilling its authority and responsibilities; and,
17   accordingly; (4) far from being "uncertain" whether the FDA would approve the

18   Anktiva BLA, such approval was no longer a viable outcome; and (5) therefore, the

19   Company’s communications to the public were substantially misleading throughout the

20   relevant times.

21                             DAMAGES TO IMMUNITYBIO
22         155. As a direct and proximate result of the Individual Defendants' misconduct,
23   ImmunityBio has incurred, and will continue to incur, losses and expenses amounting
24   to millions of dollars.
25         156. Such expenditures include, but are not limited to, legal fees associated
26   with the federal securities lawsuit filed against the Company, its CEO, CFO, and
27   Chief Scientific and Medical Officer any internal investigations, and amounts paid to
28   outside lawyers, accountants, and investigators in connection thereto.


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 1         157. These expenditures also include, but are not limited to, the costs associated
 2   with implementing measures to remediate the material weaknesses in the Company’s
 3   internal control over financial reporting.
 4         158. These losses also include, but are not limited to, substantial compensation
 5   and benefits paid to the Individual Defendants who breached their fiduciary duties to
 6   the Company, such as bonuses linked to the Company’s achievement of specific
 7   objectives, as well as other benefits provided to those Individual Defendants.
 8         159. As a direct and proximate result of the Individual Defendants’ actions,
 9   ImmunityBio has suffered and will continue to suffer damage to its reputation and
10   goodwill, along with a "liar’s discount" that will negatively impact the Company’s stock
11   in the future. This is due to the Company’s misrepresentations and the Individual
12   Defendants’ breaches of fiduciary duties and unjust enrichment.
13
14              DERIVATIVE AND DEMAND FUTILITY ALLEGATIONS
15         160. Plaintiff brings this action derivatively in the right and for the benefit of
16   the Company to redress injuries suffered and to be suffered as a direct and proximate
17   result of the breaches of fiduciary duties and gross mismanagement by the Individual
18   Defendants.
19         161. Plaintiff will adequately and fairly represent the interests of the Company
20   in enforcing and prosecuting its rights and have retained counsel competent and

21   experienced in derivative litigation.

22         162. Plaintiff is a current owner of the Company stock and has continuously

23   owned Company stock during all times relevant to the Individual Defendants’ wrongful

24   course of conduct alleged herein.

25         163. Plaintiff understands his obligation to hold stock throughout the duration
     of this action and is prepared to do so.
26
           164. During the illegal and wrongful course of conduct at the Company and
27
     through the present, the Board consisted of the Individual Defendants.
28

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 1         165. Because of the facts set forth throughout this Complaint, demand on the
 2   Company Board to institute this action is not necessary because such a demand would
 3   have been a futile and useless act, and Plaintiff has not made (and should be excused
 4   from making) a pre-filing demand on the Board to initiate this action.
 5         166. The Company’s Board is currently comprised of nine members:
 6   Defendants Soon-Shiong, Adcock, Cohen, Blaszyk, Brennan, Maxwell, Clark, Selecky,
 7   and Simon (the “Director Defendants”). Thus, Plaintiff is only required to show that a
 8   majority of the Defendants, i.e., 5, cannot exercise independent objective judgement
 9   about whether to bring this action or whether to vigorously prosecute this action.
10         167. Each of the Directors approved and/or permitted the wrongs alleged herein
11   to have occurred and participated in efforts to conceal or disguise those wrongs from
12   the Company’s stockholders or recklessly and/or with gross negligence disregarded the
13   wrongs complained of herein and are therefore not disinterested parties.
14         168. Each of the Directors authorized and/or permitted the false statements to
15   be disseminated directly to the public and made available and distributed to
16   shareholders, authorized and/or permitted the issuance of various false and misleading
17   statements, and are principal beneficiaries of the wrongdoing alleged herein, and thus,

18   could not fairly and fully prosecute such a suit even if they instituted it.

19         Defendant Soon-Shiong

20         169. Defendant Soon-Shiong is not disinterested or independent, and therefore,

21   is incapable of considering demand because he is the Company’s founder, controlling

22   shareholder – beneficially owning 82.82% of the Company’s common stock, and
     current Global Chief Scientific and Medical Officer. Soon-Shiong, thus, derives
23
     substantially all of his wealth and livelihood from his relationship with the Company
24
     making him not disinterested or independent.
25
           170. The lack of independence and financial benefits received by Soon-Shiong
26
     renders him incapable of impartially considering a demand to commence and
27
     vigorously prosecute this action.
28

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 1         171. In addition, Soon-Shiong is a defendant in the Securities Action, which
 2   seeks to hold him liable for much of the same wrongdoing as is alleged herein.
 3         172. Furthermore, the Company’s 2024 Annual Proxy Statement, filed with the
 4   SEC on April 29, 2024 (the “2024 Proxy”) concedes that Soon-Shiong is not an
 5   independent director.
 6         173. As such, Defendant Soon-Shiong cannot independently consider any
 7   demand to sue himself for breaching his fiduciary duties to the Company, as that would
 8   expose him to substantial liability and threaten his livelihood.
 9         Defendant Adcock
10         174. Defendant Adcock is not disinterested or independent, and therefore, is
11   incapable of considering demand because, Adcock is, and was at all relevant times, an
12   employee (CEO since October 2020 and President of the Company since March 2021)
13   who derived substantially all of his wealth and livelihood from his relationship with the
14   Company making him not disinterested or independent.
15         175. The lack of independence and financial benefits received by Adcock
16   renders him incapable of impartially considering a demand to commence and
17   vigorously prosecute this action.

18         176. In addition, Adcock is a defendant in the Securities Action, which seeks to

19   hold him liable for much of the same wrongdoing as is alleged herein.

20         177. Furthermore, the Company’s 2024 Proxy concedes that Adcock is not an

21   independent director.

22         178. As such, Defendant Adcock cannot independently consider any demand to
     sue himself for breaching his fiduciary duties to the Company, as that would expose
23
     him to substantial liability and threaten his livelihood.
24
           Defendant Simon
25
           179. Defendant Simons is not disinterested or independent, and therefore, is
26
     incapable of considering demand because, Simon is, and was at all relevant times, an
27
28

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 1   employee (Chief Corporate Affairs Officer since March 2021)2 who derived
 2   substantially all of his wealth and livelihood from his relationship with the Company
 3   making him not disinterested or independent.
 4           180. The lack of independence and financial benefits received by Simon renders
 5   him incapable of impartially considering a demand to commence and vigorously
 6   prosecute this action.
 7           181. Furthermore, the Company’s 2024 Proxy concedes that Simon is not an
 8   independent director.
 9           182. As such, Defendant Simon cannot independently consider any demand to
10   sue herself for breaching his fiduciary duties to the Company, as that would expose him
11   to substantial liability and threaten his livelihood.
12           Defendants Blaszyk, Cohen, Selecky, and Maxwell
13           183. Defendants Blaszyk (Chair), Cohen, Selecky, and Maxwell are not
14   disinterested or independent and, therefore, are incapable of considering demand
15   because they serve as members of the Audit Committee. Pursuant to the Audit
16   Committee’s Charter, the purpose of the Committee is to assist the Board in fulfilling
17   its oversight responsibilities related to, inter alia, accounting, legal, regulatory, and

18   public disclosure requirements. Thus, these Defendants were responsible for knowingly

19   or recklessly allowing the improper statements. Further, these Defendants reviewed and

20   approved the improper press releases made to the public. Despite their knowledge or

21   reckless regard these Defendants caused these improper statements.

22           184. In addition, Defendant Blaszyk is a director/manager for Medicus,
     NantHealth (a company affiliated with Dr. Soon-Shiong).
23
             185. For these reasons, Blaszyk (Chair), Cohen, Selecky, and Maxwell
24
     breached their fiduciary duties, face a substantial likelihood of liability, are not
25
     independent or disinterested, and thus demand upon them is futile and, therefore
26
     excused.
27
28   2
         Simon was also the Company’s CEO from 2007 to 2015.

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 1          186. The Directors, as members of the Board, were and are subject to the Code
 2   of Business Conduct and Ethics, which go well beyond the basic duties required by
 3   applicable laws, rules, and regulations. Specifically, the Codes require Directors to act
 4   in good faith, responsibly, with due care, avoid conflicts of interest, ensure accurate and
 5   timely disclosures, and promptly report any violations. The Director Defendants
 6   violated these Codes because they knowingly or recklessly permitted the Company to
 7   issue materially false and misleading statements alleged herein. Consequently, the
 8   Director Defendants breached the Company's Code of Conduct and Code of Ethics, face
 9   substantial liability, and are not independent or disinterested, making demand upon
10   them futile.
11          187. Furthermore, demand, in this case, is excused because the Directors, who
12   are named as defendants in this action, control the Company and are indebted to each
13   other. The Directors have longstanding business and personal relationships with each
14   other and the Individual Defendants that preclude them from acting independently and
15   in the best interests of the Company and the shareholders. These conflicts of interest
16   precluded the Directors from adequately assessing and managing risks, overseeing the
17   Company’s internal control over financial reporting, overseeing disclosure controls and

18   procedures and calling into question the Individual Defendants’ conduct. Thus, any

19   demand upon the Directors would be futile.

20          188. ImmunityBio has been, and will continue to be, exposed to significant

21   losses due to the wrongdoing complained of herein. Yet, the Directors have not filed

22   any lawsuits against themselves or others who were responsible for that wrongful
     conduct to attempt to recover for ImmunityBio any part of the damages ImmunityBio
23
     suffered and will continue to suffer, thereby. Thus, any demand to the Directors would
24
     be futile.
25
            189. The Individual Defendants’ conduct described herein and summarized
26
     above could not have been the product of legitimate business judgment as it was based
27
     on bad faith and intentional, reckless, or disloyal misconduct. Thus, none of the
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 1   Directors can claim exculpation from their violations of duty pursuant to the Company’s
 2   charter (to the extent such a provision exists). As a majority of the Directors face a
 3   substantial likelihood of liability, they are self-interested in the transactions challenged
 4   herein. They cannot be presumed to be capable of exercising independent and
 5   disinterested judgment about whether to pursue this action on behalf of the shareholders
 6   of the Company. Accordingly, demand is excused as being futile.
 7          190. The acts complained of herein constitute violations of fiduciary duties
 8   owed by ImmunityBio’s officers and directors, and these acts are incapable of
 9   ratification.
10          191. The Directors may also be protected against personal liability for their acts
11   of mismanagement and breaches of fiduciary duty alleged herein by directors’ and
12   officers’ liability insurance if they caused the Company to purchase it for their
13   protection with corporate funds i.e., monies belonging to the stockholders of
14   ImmunityBio. If there is a directors’ and officers’ liability insurance policy covering
15   the Directors, it may contain provisions that eliminate coverage for any action brought
16   directly by the Company against the Directors, known as, inter alia, the ''insured-versus-
17   insured exclusion.'' As a result, if the Directors were to sue themselves or certain of the

18   officers of ImmunityBio, there would be no directors’ and officers’ insurance

19   protection. Accordingly, the Directors cannot be expected to bring such a suit. On the

20   other hand, if the suit is brought derivatively, as this action is brought, such insurance

21   coverage, if such an insurance policy exists, will provide a basis for the Company to

22   effectuate a recovery. Thus, demand on the Directors is futile and, therefore, excused.
            192. If there is no directors’ and officers’ liability insurance, then the Directors
23
     will not cause ImmunityBio to sue the Individual Defendants named herein, since, if
24
     they did, they would face a large uninsured individual liability. Accordingly, demand is
25
     futile in that event, as well.
26
            193. Thus, for all of the reasons set forth above, all of the Directors, and, if not
27
     all of them, certainly at least five of them, cannot consider a demand with
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 1   disinterestedness and independence.       Consequently, a demand upon the Board is
 2   excused as futile.
 3                                 CLAIMS FOR RELIEF
                                           COUNT I
 4                                 Breach of Fiduciary Duty
 5                             Against the Individual Defendants
 6         194. Plaintiff incorporates by reference and re-allege each and every allegation
 7   set forth above, as though fully set forth herein.
 8         195. Each Individual Defendant owed to the Company the duty to exercise
 9   candor, good faith, and loyalty in the management and administration of ImmunityBio’s
10   business and affairs.
11         196. Each of the Individual Defendants violated and breached his or her
12   fiduciary duties of candor, good faith, loyalty, reasonable inquiry, oversight, and
13   supervision. The Individual Defendants’ conduct set forth herein was due to their
14   intentional, reckless, or negligent breach of the fiduciary duties they owed to the
15   Company, as alleged herein. The Individual Defendants intentionally, recklessly, or
16   negligently breached or disregarded their fiduciary duties to protect the rights and
17   interests of ImmunityBio’s shareholders.
18         197. In breach of their fiduciary duties owed to ImmunityBio, the Individual
19   Defendants willfully or recklessly caused the Company to violate federal regulations by
20   falsely stating and/or failing to disclose the Company’s true business performance, as
21   alleged herein.
22         198. The Individual Defendants had actual or constructive knowledge that the
23   Company issued materially false and misleading statements, and they failed to correct

24   those public statements and representations. The Individual Defendants had actual

25   knowledge of the misrepresentations and omissions of material facts set forth herein or

26   acted with reckless disregard for the truth, in that they failed to ascertain and disclose

27   such facts, even though such facts were available to them. Such material

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 1   misrepresentations and omissions were committed knowingly or recklessly and for the
 2   purpose and effect of artificially inflating the price of ImmunityBio’s securities.
 3          199. The Individual Defendants had actual or constructive knowledge that they
 4   had caused the Company to engage in the fraudulent schemes set forth herein
 5   improperly and to fail to maintain adequate internal controls. The Individual Defendants
 6   had actual knowledge that the Company was engaging in the fraudulent schemes set
 7   forth herein, and that internal controls were not adequately maintained, or acted with
 8   reckless disregard for the truth, in that they caused the Company to engage in the
 9   fraudulent schemes improperly and to fail to maintain adequate internal controls, even
10   though such facts were available to them. Such improper conduct was committed
11   knowingly or recklessly and for the purpose and effect of artificially inflating the price
12   of ImmunityBio’s securities.
13          200. These actions were not a good-faith exercise of prudent business judgment
14   to protect and promote the Company’s corporate interests.
15          201. As a direct and proximate result of the Individual Defendants’ breaches of
16   their fiduciary obligations, ImmunityBio has sustained and continues to sustain
17   significant damages. As a result of the misconduct alleged herein, the Individual

18   Defendants are liable to the Company.

19          202. Plaintiff, on behalf of ImmunityBio, has no adequate remedy at law.

20                                          COUNT II
21                       Violations of Section 14(a) of the Exchange Act
                                Against the Director Defendants
22
23          203. Plaintiff hereby incorporates the allegations in the foregoing paragraphs as

24   if fully set forth herein.

25           204. Section 14(a) of the Exchange Act, 15 U.S.C. § 78n(a)(1), provides that,

26          [i]t shall be unlawful for any person, by use of the mails or by any means or
            instrumentality of interstate commerce or of any facility of a national securities
27          exchange or otherwise, in contravention of such rules and regulations as the
28          [SEC] may prescribe as necessary or appropriate in the public interest or for the


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 1         protection of investors, to solicit or to permit the use of his name to solicit any
           proxy or consent or authorization in respect of any security (other than an
 2         exempted security) registered pursuant to section 12 of this title [15 U.S.C. § 78l].
 3
           205.    Rule 14a-9, provides that no proxy statement shall contain “any statement
 4
     which, at the time and in the light of the circumstances under which it is made, is false
 5
     or misleading with respect to any material fact, or which omits to state any material fact
 6
     necessary in order to make the statements therein not false or misleading.” 17 C.F.R.
 7
     §240.14a-9.
 8
           206. Under the direction and watch of the Director Defendants, the Company
 9
     made materially misleading statements in its Annual Proxies filed with the SEC on April
10   29, 2021, April 29, 2022, and April 28, 2023 (collectively, the “Proxies”). Specifically,
11   Proxies contained false statements and failed to disclose that (i) the Company relied on
12   a CMO to manufacture Anktiva at a facility plagued by serious and recurring cGMP
13   deficiencies; (ii) these cGMP issues were not corrected and were allowed to persist; (iii)
14   the FDA identified a range of significant cGMP violations at the facility during the pre-
15   license inspection for Anktiva, which indicated that the firm's quality unit was not
16   effectively fulfilling its authority and responsibilities; and, accordingly, (iv) far from
17   being "uncertain" whether the FDA would approve the Anktiva BLA, such approval
18   was no longer a viable outcome.
19         207. The Director Defendants knew or should have known that by
20   misrepresenting and/or failing to disclose the foregoing material facts, statements
21   contained in the Proxies were materially false and misleading.
22         208. The Company was damaged as a result of the Director Defendants’
23   material misrepresentations and omissions in the Proxies.
24         209. Plaintiff has no adequate remedy at law.
25
                                          COUNT III
26                               Unjust Enrichment Against
27                             Against the Individual Defendants
28

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 1         210. Plaintiff incorporates by reference and re-alleges each and every allegation
 2   set forth above, as though fully set forth herein.
 3         211. By their wrongful acts, violations of law, and false and misleading
 4   statements and omissions of material information, the fact that they made and/or caused
 5   to be made, the Individual Defendants were unjustly enriched at the expense of, and to
 6   the detriment of ImmunityBio.
 7         212. Each of the Defendants received payment from ImmunityBio, in the form
 8   of either salary or director fees while actively breaching their fiduciary duties to
 9   ImmunityBio.
10         213. All the payments and benefits provided to defendants were at the expense
11   of ImmunityBio. The Company received no benefit from these payments.
12         214. Plaintiff, as a shareholder and a representative of ImmunityBio, seeks
13   restitution from the Individual Defendants and seeks an order from this Court
14   disgorging all profits—including from benefits, and other compensation, including any
15   performance-based or valuation-based compensation, obtained by the Individual
16   Defendants due to their wrongful conduct and breach of their fiduciary and contractual
17   duties.

18         215. Plaintiff, on behalf of ImmunityBio, has no adequate remedy at law.

19                                        COUNT IV
20                                Waste of Corporate Assets
                               Against the Individual Defendants
21
22         216. Plaintiff incorporates by reference and re-alleges each and every allegation
23   set forth above, as though fully set forth herein.

24         217. As a result of the foregoing, and by failing to properly consider the interests

25   of the Company and its public shareholders, the Individual Defendants have caused

26   ImmunityBio to waste valuable corporate assets, to incur many millions of dollars of

27   legal liability and/or costs to defend unlawful actions, and to lose assets from investors
     and customers who no longer trust the Company.
28

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 1         218. As a result of the waste of corporate assets, the Individual Defendants are
 2   each liable to the Company.
 3         219. Plaintiff, on behalf of ImmunityBio, has no adequate remedy at law.
 4
 5                                  PRAYER FOR RELIEF

 6         FOR THESE REASONS, Plaintiff demands judgment in the Company’s favor
 7   against all Individual Defendants as follows:
 8      a) Declaring that the Plaintiff may maintain this action on behalf of ImmunityBio
 9         and that Plaintiff is an adequate representative of the Company;
10      b) Declaring that the Individual Defendants have breached and/or aided and
11         abetted the breach of their fiduciary duties to ImmunityBio;
12      c) Determining and awarding to ImmunityBio the damages sustained, or
13         disgorgement or restitution, by it as a result of the violations set forth above
14         from each of the Individual Defendants, jointly and severally, together with pre-
15         judgment and post-judgment interest thereon;
16      d) Directing the Individual Defendants to take all necessary actions to reform and

17         improve ImmunityBio’s corporate governance and internal procedures to

18         comply with applicable laws and to protect ImmunityBio and its shareholders

19         from a repeat of the damaging events described herein;

20      e) Awarding Plaintiff the costs and disbursements of this action, including
           reasonable attorneys’ and experts’ fees, costs, and expenses; and
21
        f) Granting such other and further relief as the Court may deem just and proper.
22
                                    JURY TRIAL DEMANDED
23
           Plaintiff hereby demands a trial by jury.
24
25   Dated: October 29, 2024                WOLF HALDENSTEIN ADLER
26                                           FREEMAN & HERZ LLP
27                                            By: /s/ Alex J. Tramontano
28                                            ALEX J. TRAMONTANO


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